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                 COMPOSITE
                     EXHIBIT 1
            Def. Nos. 201-240
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                SCHEDULE A
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               SCHEDULE D
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 4 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   "Classic Smiley Face" Sticker for Sale by PRINTLYMPUS | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Classic-Smiley-Face-by-PRINTLYMPUS/109661542.EJUG5

   Collection Date
   Wed, 26 Apr 2023 06:19:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KYXAsID5JL2y8UglTmHGwrLPMu9oMz8977y63FsXjpp2HsDI64mXzf3fjRBt2FAVXDmtysqKjMVLDcRtHvQAFI7XDM0/IxXB8QwEl1goKtSsKC6xvot0eeBTeV5TqFdrIsZFSxxNt9LVS9zRCexW0y5wbK6jE0J4a4BGcmeTrzM=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Classic-Smiley-Face-by-PRINTLYMPUS[fs]109661542.EJUG5]]_Wed,-26-Apr-2023-06-19-57-GMT.pdf

   Hash (SHA256)
   d3315c25134abcc88c9e9d2e661c08ee401096085e21da8697913206fe069639

   Signature (PKCS#1v1.5)
gkK58AUbuo4aX/yjpQEBhGzLHWHhM3F0nT+HFCbwduN3oyq6vASDMck+PC5m4czfK1vKKN89Zu7lMtR9+qrCF33eSWOC/J75jRDzXOedibN+FO+aOfVhaZAQzCdZRi6bJyjzXlOV4uwCGifVgVYO4Jlqtp1VrO+1L3wIQ851MvM=
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 5 of 83



                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 16 May 2023 12:18:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   175.176.7.132

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LS3Gu4RYMb6fxRHJkevTTiG87MaAfKIEQfk3Lro6jA2y2n/TLFVeJSnTiTmIx9Gz2dAzZiq91eSVeOf9/h81AuZ/dD1q208xQPndu7GuInuikzNfIjeix12j0+H4qIjCXKjHO7WLd58ja92nwiNcILZuMDBJGnPkn83CPV08U6I0GtwUXFIAZvSStSxthiE8XL9b/
   +DGycpQ413t15wlTKWRiZ1bUnQDyWa2KlAVF6/HNfgbczjFl07x98WulmDuqzaQlYA9661YD90C7E5cFAzbmslCF+NW19l3MFfo3cjO3vc1zRdOLEmQiXxoWuYKENj4CBDP9Td1R8KPYUPx/Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-16-May-2023-12-18-48-GMT.mhtml

   Hash (SHA256)
   34a429342f7500a7f84c3cd8e557af194874f77a3ffec9ee43aaffdbce5efb65

   Signature (PKCS#1v1.5)
gjAdE0266APs04J/fQZ327wg3Q14wY+HPEyPFRJ396mdasklNOm7W6ZEaDJ1SLDhLDiF0IF8sxosDUkt/soQ+z/tg+oAw2WnuNtdYMU7BjLjUNZW/lloJEgYBsCuV+BZ7tlako+Nk7f41OhL2Uj+7SZJUdNDie5Jj0SsLFozqxiH4sMlOU7MJNi1KUL+zZ6zfjGoNCxWjyzptnmcO/mi3fGYWh/
TkJEiaB48WBoBjnWlKZ1Qo7WuMzws7kig6ky9LPIFisRS0SCJtM6ugSelh8NEbGSiR8ONBYXY3BwKT7DRyTZdqWYclUG2+2OGUSMOqhpWyrE5e3YBE+3UqT4qlw==
                                                                                  Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 6 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   "Smiley face #8" Sticker for Sale by qtfonts | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-face-8-by-qtfonts/113366341.EJUG5

   Collection Date
   Wed, 26 Apr 2023 08:16:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KyTbxbNGAhlCxz70K4K1azSV6OMp2zuJDIqTjVJB6kGPYwtYB1mkzgiUTUuBRyLLzd+qELBmkObW/7V96abbnV00/6H6ew8VIde6mRIzvIvDgOjIcmMMpWUbumNvgtzezIu2SMjs/NzE8soQmNkbIn15Rr2k7Q0tw5YwMIxnlxw=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-face-8-by-qtfonts[fs]113366341.EJUG5]]_Wed,-26-Apr-2023-08-16-44-GMT.pdf

   Hash (SHA256)
   76279451b26b20921020bfc3d5d5296bcf00a540fba3681d42b4fe7c703590d1

   Signature (PKCS#1v1.5)
UtncpkYcRUbmV3WAVZIEeMtmXwU9O9hcLaaxoWaBwopIYq42sWf1/i/HbqM/r83SvoiC8n0kaSx6IRvF9fUJT9Fg8Yh1+mH4Ss/BLJ+UJKXgVukjtuc2A9ITfF3B2EoiMQVBz/8Od34cttlnkldzQogBuQM2uNmYS4CtOA5k27Q=
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 7 of 83



                                                                                                                                                                                    Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 06:59:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4924:ce00:5dd:8d57:840f:9765

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GqL+6NcAcXEYeRjdzJ4447jK+mkUoVNfVZJQcIKP1HjoO12L3aj8CenJJBie4La0LHucf9nCyifhLU1ouvCO0G9llX3f/wx8ltQdWqUnrZGdATYB5yhNU7lLdpqsWdU/2kYX6qoi+osiuvVYkT4kT+hJ31F2AIwc0zaOszC+oQEkDJ
   +45ilXiODhXE8+beSef0MDHj9on4QrszV5cGTO2pde3/1XCSM2hZyQy5x1KmHT1CAt84NYDj3ml2gpOeukJHuIy7hWDt6wraCFJg0iTfy/AgSHBJoV2H6lD44pUPOR98G8Rinqu0ugHJOa/bXurcTEGTrrczgI5nRxRmDL2Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-06-59-29-GMT.mhtml

   Hash (SHA256)
   b17f82fd2ba35ca5a488aeb7acdc588ff3b01105eacd3d91a21e58189f2b5e8d

   Signature (PKCS#1v1.5)
GLDGz3zA4RLepHU/W0RPD/h5eJ607gSiRvZ2RulfyKA5kSRxbYh5EDiWLUQVujpqgyJMpeXsZMCcmKiz2aWmbwWmZ5ZkDPG170NbHjlg3tOJJf3Itsq70tnbJ2WT2uCP3ZscBCS0TI75+xvNPoCiL6l6ldS4ATL+qbO2utNWDcfVrt
+WE0ItRW6+NSQx7TFmUzd0HmgW2l3hKrkRCSmEannK600P3kCTB9e+lgDBWKUc2WkWicNxh6QX96bEZjB7AqOWTug2xeMZmTKDKQZO0u3wwVliW2Z/LKV/YSK2UxcQufAP7qAcb1IFKgERbM0ew/1hNBC8tNOGNclmRnD0+g==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 8 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   "Trippy Smiley Face" Sticker for Sale by Meekk91 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Trippy-Smiley-Face-by-Meekk91/65107923.JCQM3

   Collection Date
   Wed, 26 Apr 2023 09:28:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DdO2jxbDhYFXa7jMe/Jya9ko9Lmn1xKIdk5lF7G7BxmcHzZHODX0JZBsqg8WNE1/E+vkvfysf8HHeNbhZkylGrcSsUrMGwTXC0AGKf7FQQfe7TdRKVvCw38nLWExb4nHMLU80hEvy7G7PBXbXQHuKqSxBlxr4yBj1ZVqxn9+jZI=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Trippy-Smiley-Face-by-Meekk91[fs]65107923.JCQM3]]_Wed,-26-Apr-2023-09-28-07-GMT.pdf

   Hash (SHA256)
   9608cdb0a22508ca11d9dfe4e7c759db3244973a85f1f7bb6649b61c1b0a467a

   Signature (PKCS#1v1.5)
hgdhNbYDwW+ceyCDyFNEuEZT9Ji2gsZu2zGBOOPMW6qqC3HHoHvtgIxWKhI7tFnJNTSEP6akgwoXsIzg7GgztS2JY0t5JVLryE5yPCTqRNSdhGY3pMEZUlxQDmXFC3sGoqmNDhQ8Ewv333D/CMmVnjptQj9+e4lSPLHM8gmYhjM=
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 9 of 83



                                                                                                                                                                                                                 Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 12:08:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   175.176.30.31

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oP3k+ZufW54IdHS5E50YVSvPFhOWusNoR+JXmAG587W1ZaYDLglyWom3btkM+DC1l3Xt4/WaIyZuvdePUs4i9WTv2dbLB7KgrIFsHzZbctTqrr+vIbH/giNwVKxF7sqGVTCaTaqku019uOBt2QsLWXzeUC6VPiRWZ51kmOxxzC8bA/AKY3Uhlt5vyZHc3hNPS
   +QXrSdBSGt96yRFKaIsicaOxrubtKvTpwBCF83NH3q9tBaDkBM6h2B8xqT2xc1jALGoSCqNvBtAzhdVGc2Y5Ku5LjFlqOvqqbcGCMtbf0PLwwwfOQb4I+bEdAqR019amk6WD1ojVTmDFHJJi31SZA==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-12-08-01-GMT.mhtml

   Hash (SHA256)
   324d933052b947c3d285f64165732a08230f84c23a3dd954745a6300f736a908

   Signature (PKCS#1v1.5)
PGeriYkR/CA/XVEBCwCWea6dbffV4ucyXUsvrjNsxM0nos3FtTAx7npeYlF6XmKmozsr9llsykVLgVgtrd67v7M96bd9r4dUu8qeFTP5hYOAbIOU80Ys+SZk7n1fD/+dY45/ilHePagFyQd8ihIfjIdEZAT/U5xAUeXz+bHNTFINkCKvFw2y42s6kqAzgtZxMHQCIo+daxhDy8oFhxonKQY
+INk3YMR0ZNXznAzG+KiYB355uXDC8zxK8aQ8gtkhSpmgE1WLsfb4xRkgbFfGVMoqIiSJZpkPn/tNdTFHFNZxfWk87s9FM9DkvimdUCKRUqlImnhmTXXzSaqZyFSEFQ==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 10 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Smiley" Sticker for Sale by rainbowsalt0 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-by-rainbowsalt0/67675650.EJUG5

   Collection Date
   Wed, 26 Apr 2023 10:56:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lVF9rt98rp2+IUdGJtB2xB+iRCcDy5L7sw0u91s/THIz27DU4FvbtmuxzN8dMd7Ed6n/lf2qenW/m3RKzdWPlAmuszcTsoa6JsUzkvPDmdmab6DZuVxQBqPXvBIJrY38UzaFjzirCcIj/sdsY/l+ceXLNHAvUpaN43KlcUBM5HY=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-by-rainbowsalt0[fs]67675650.EJUG5]]_Wed,-26-Apr-2023-10-56-45-GMT.pdf

   Hash (SHA256)
   e9a52cc00de02320b9b5c2164ebab8892e62069b75be8854475c2554e72eece0

   Signature (PKCS#1v1.5)
YHW/o26IPlrFbbVLgZzwy9nc0HAFzipLTwrJChcJfGB9rnTyYWxnqVAMVNi0CNPfL5I+JxnoQq5yFvVkTrLZd62QJRY8Op1l5Hw5GnSx93kQErdSvfv7h6+/QML56G0qsA+2sasgotBn0HHt4GWExGMxsdhADddtJIgyN8H2uhc=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 11 of 83



                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 30 May 2023 02:49:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49f0:9c00:e896:f762:a48b:338a

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Gc0SQCtAZw2XZfZ0PIkNLMhHTyCvbY5BP6jJ8Tv2205q73MJWij7WdRaUV/qEwOz7v2El37MHmqA64Nh5FbazKMgHK2h7v9es+cfXpu/gGG1WiCJ0Q1yoeyryZs0+fE5PfIc9egNx+x8cCcaAfBvSmS9kgsGwd7aJbAHmCEx3oSDThUXjXe6hU4r/pNxqW+S79LVyrETNv8PSLBzua06jLAse6/
   ku2HutVY9lT5PLpcQNtOfwOQoLcIJAWC8FgN6qWouHrzA4n9X96aLjBePxvKAIrec1MQWidFe3l393mzvVM99/JQByzjsk+3mkUi1Q1RIMq3jXYQhOzPtFNAGOQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-30-May-2023-02-49-44-GMT.mhtml

   Hash (SHA256)
   737f13a7d7d6f19a4496b5e7a82a848600a7776913ab35071a91e54a2f8f1692

   Signature (PKCS#1v1.5)
Un9tEu2pxa0rlr4PZdNdZIbwDbmrPa04ZK3/Wzn8PbtL568ToGgYTLP3mstNzBB9hy1TNvTmN/GioWnAbIL3by4B24GLwGoDL/tDpLCD0mZUji1AceTpE7PNfX/VFRchbJ0rHce5QuD5AMJ7Be+ZMUI+HbRjVG1V7872hJXN4yMzt4lRYOPJhRyl69YUTKZ0yQikEx7/rY56IF/
RmDv0eADwvpSCxIfKnwEcvwn78HnpWscoxCadxjoAaHdpvmFVOhr3iYEZrssM/fbhmUPrSHcm9Hmg/Usaxh8QMIKF+h84V8nt/xIc/6vA68ULdnLsn7d2rdYMgfARx1JPPfz9PQ==
                                                                                     Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 12 of 83



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                                                                                  Evidence Collection Report
   Page Title
   "sometimes it be like that melted smiley" Sticker for Sale by redflamingo31 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/sometimes-it-be-like-that-melted-smiley-by-redflamingo31/122238690.EJUG5

   Collection Date
   Wed, 26 Apr 2023 07:35:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kYcTTsetpP71wEXPugvOdxovKk/9O74B4hn1uqUf92auGSYXWduLtjeTk7PbTyT6XCxDmLSIkTUAhxuO8/ZLVmLBhe0R+gFYy3jvo5UK7pbIL+bdq7weh9JjrVbsBuQ5bw/QQPmYPpcC9T9uYOWJcZZcKdWpqzF37znaLBjNI24=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]sometimes-it-be-like-that-melted-smiley-by-redflamingo31[fs]122238690.EJUG5]]_Wed,-26-Apr-2023-07-35-14-GMT.pdf

   Hash (SHA256)
   1dc88f59f1deea1257c48429f1b7314f0aad6f6fd4b82534a25575d30474f6db

   Signature (PKCS#1v1.5)
lfBw8ZLzMcTI3ccG9R90NCX1yOzN9jNDeCqDSscql636LoHCuuwuRPi5cisQzQpp6/y4Hpwywo8TOHKMWFpefJxEkHaGCS1IMcLl+JZLoWalRA977UAVDB+L5gduPgyczC8Vb70ZBMpPvVC3QjcjB7RLk1KA+sPfN4zLyFcZrN4=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 13 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Thu, 25 May 2023 20:23:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4917:7700:7039:22f3:79ed:183f

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   df56tEeT9LulBUg2pBQK/pSu/kRJwwQPGVcXqOXggh/TZMpHzJfoYnKhxtECQuOaoTVXL/tZGjtWog19JDHO1Gg6jx9/VWeCqCtaQLDwB9WDbK8tdkHS8krGHF9YjhWwTlmPLOqVaxTKUpmVyIkuCA0mAVFooauTqIf4znS3F2XUR88iRb5ifQ34gH6ESyXL7gPHWh+/
   Cxn2UYnz6oXjOZXmdwAfIqFi0fVv2dDnR51TU7OOvKMrbg12RWxxuzJw0ftvxtn1CjMJljgqyOJWPuYUcEGFai6CpVULshffrwq8ccuR5vHPw+tsK87phXyB++/AzIsCRUr8pBTMijl9kw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Thu,-25-May-2023-20-23-27-GMT.mhtml

   Hash (SHA256)
   1d65e431380e4d4656d5e5936b052c7b2dbde49e0282b1f0867dcdf6badccd0a

   Signature (PKCS#1v1.5)
FZjcaRkYMMBoOezhFycvrYe8NaGbXQcBZsVVS3/9Poen6+1MkAWOcZrsQAIYyTbjqudW63eAykvHVjnzcz9XyB+NGq+8pKApnoCKN4ju7AwteKvCpI7qEzEMlDXZtstHee/5Wew0XlxqvC/mqOTc5iXksMkS
+8ApCqRO4EXdYbtYEGhwzb1lIPbstO9d6UtKEFLDzceeJkUDsh3Icm3fgrfqdb46Kzuc6UM5cPIG0VbFxXJXz9+sEp9S6O9kqUqsFFiwqmfQLoREXRQ2pM8xFBSgdIcIfhze6u5qljG/JIls0KeJfM4YqxDnJ/NjWXVx9STPrNYdBjVVlWJzXJiyKw==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 14 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   "Blue Smiley Face" Sticker for Sale by reginalima | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Blue-Smiley-Face-by-reginalima/107548766.EJUG5

   Collection Date
   Wed, 26 Apr 2023 08:17:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OpWB3MWnnedjQJxzgpUXZ+dEmX4LURg42K/SIIhrZCRLSgFBkIoljIDAXo6pSMaowcOx2E47Z6nfGKxT8YMy8uQAGgg8QdK/oTPWhp4YxFkaDLeLryhyjXWPP7Arvmv94wBaXAP/GvpRX6CCsqgqBwhZX9nPkUmvu1OxLCfkHOs=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Blue-Smiley-Face-by-reginalima[fs]107548766.EJUG5]]_Wed,-26-Apr-2023-08-17-06-GMT.pdf

   Hash (SHA256)
   5fa83be05311ce0072f9121532200c35a08a724ff2c8685da325c56889784d01

   Signature (PKCS#1v1.5)
kad2bEHR+tg/K6dsZ4dsI7bzeXSIzMY9J9Qv9nW05Lndo0y6qUFbNsCkzUt73YM55H9HYsRE2AmokEUAayNspDCtEGavnMX8f5RVdHNZkbmyyr3QYOUdaXJa3kt5O3JpuVEWGnNy8dBrmIEI3XtY9jEOo5OhGP9vIfzyCL3GB2E=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 15 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 07:02:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4924:ce00:5dd:8d57:840f:9765

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hLgapw/UdKGtnxkePdjL85Y6TAoiHFiaPKUVNhv60FP+whPSXfkIgjTy32Reeeq++ccnC6CH0vySIWecWZtG3RClyHr5VHDNWzctyU/xDxFjnzl/DpsDpQYeuNKf3QSKf/pEiab7ZzcfwxEzXnI/+A9f8WDi2UylUm2QGPvgbiXxXYUC2J0yQVycZajAcOnoxQFh8/JPXO8uYdCFzaVxuYcu53/
   FTJv1VNxOePveK3uXR0PsA/QwtsyAaB5HMuh99I+cq6wVbk/MD714UShXKuQnd8+2tNOW7T2LE3fU5FkqDFqarPjqFpUTnykEW086cedkPYaeiQZQDWWFXGdd9Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-07-02-05-GMT.mhtml

   Hash (SHA256)
   bf0f840c022fb0760222b71547ba28856fe86235b548a298bfd318a6793df5b7

   Signature (PKCS#1v1.5)
f7pTwNfxvMRllwmABThG6lmXSpDv5mh6mK+RmM/WGgPLP6YCgtcP8DOYeLtQdQEydBLDJ4tSdhZAM9ajuah0FZyfyM+VAAXt5om6ELNsqGklJGCG1qxCCjtZc3ZIKzbOtVkKlat+mYNa1Jo1cfSbUkqTZaxRIHb5GWp2JR88xqv1qB9yX/
glfOqreW6QqnoAFN8AkvctxES0I7jz7CagfIbO6WiOqFt4luyfByPJEwwkZ5oBvnZew/CHDw8Qzk147s9Z7Sd2HQ5bsPn2tZxFeVYkVwMi+ng6ggX9Oj6/DqqjWY+oM2IjyU/im8vun9g5VC6/MJQf4IucLRlSH6B82w==
                                                                                   Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 16 of 83



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                                                                                Evidence Collection Report
   Page Title
   "Pink Sparkly smiley face" Sticker for Sale by rileystickerss | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Pink-Sparkly-smiley-face-by-rileystickerss/76043636.EJUG5

   Collection Date
   Wed, 26 Apr 2023 07:22:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   o6Dh2E5tNtXWFe0d8MGDb9sSLH3oiYudf0XXdeAg1falO03L9x7G7scVTSqje8bODPQGj22v4cPlFRzvYLsqYlqww2TOVckuJ5fT8Agaew757f386DdX+5BkRZr7IXd0koFpyoMYCP7KcxZT5CgqZgtkHUWaizLvAC2M1E+l2zo=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Pink-Sparkly-smiley-face-by-rileystickerss[fs]76043636.EJUG5]]_Wed,-26-Apr-2023-07-22-43-GMT.pdf

   Hash (SHA256)
   24696f2b52b9075dd0d8b6649a2a50e8f7f2cc14f87facc0646f3c7567bf0d9c

   Signature (PKCS#1v1.5)
sV8hoHR18hDw6whzwhoOIKKIhb3wJyBTalTN3j9nqYbdRSQAlDpZSQmhZxM+uobJiVexpQ+qOqOC9m/gn88WSflBQtjMHF/sawRSH2IR+qpDtViMfgR1RMGiJOA1FnOL1MgAEwq8Ylf8K1kHZTrHaz7tVdR73WPML5OA1h46dGI=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 17 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Thu, 25 May 2023 07:29:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.66.148

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ig2ipTI77+vUagOezncc36XVN0UCSCx2fcHcgcnILge9pWDqc2wM7sqh+4QRplo4mdzes2M0vAQlq0e4pIp1h7HKiwVN9QAP3OtqHyqPMZtcuPki1du7BSSXDuGjkJwP2n0zhrgGDfSt5JNHKl38Byy1Kca5i298oRmLw9Gs4Gy9GGwkT/etW04r
   +NGAdVZFgc5kfpuXFKQYEnic2qKEU9lf0LctVWLA7dDZEjwITVpvtTHjOGGCnKGzdF02jIbfhiEtkTu8C8JxDf930poR4AUzuCUrPBKxEh/q8qcRkXuPjZFwK574WAPfXEh/HDvpBQjK5c/UmY/M+y5eqywBkQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Thu,-25-May-2023-07-29-44-GMT.mhtml

   Hash (SHA256)
   71fe4a1bd30f1d00f2ac0d5b4360eea251a2ef2d5a54a58508ac2101a45524a8

   Signature (PKCS#1v1.5)
FmKkenc703JMvIEbDZJKlyx4KoQRIJRGRGhXG1WeMzYNGWWNcNSvP6sYLcgbX+GmyUJXO+IKRlUPnQGPSmbPL+4I9rJKt5mUoD2oecnWTyvbU+r+RGVMVAW3J7yCHR875INKMGojCzY6eUT4/EqhqhG8GXdhk6xuJVLdYIxnY05oWdjj+xltAguNrDDGG4njjGtY/
L0LwUc7mj79zvIN7SDY5CHB0KKGTb5Nbw13n4WCuHFmOq4OMgSYIq+YHOJ5vqsJq+EJGEdrbou2rZTaDM3qUdD7HeSWFl1oCgippqXBgN9JvWJIPWH2VffU1PqttD8KR0kbIRz1F/gvxVNa5g==
                                                                                  Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 18 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Drippy smiley face" Sticker for Sale by Juicyyapple | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Drippy-smiley-face-by-Juicyyapple/68249233.EJUG5

   Collection Date
   Wed, 26 Apr 2023 07:54:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XoJxe7IrLuQug30HPUiiSLIWR/V7d/FdnQQasH2vcIPIQ4IutTiW2znl3vrh0twapR2Mu+sSENgKrAWWKMci6IsvqfF5cQKJ1xqnROqVHh/FwPWnN8etIsIlWfelW9TWHOel7sfFT63NQsLcDsWTebKVuDlkcGGw1e3tnA3uUKU=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Drippy-smiley-face-by-Juicyyapple[fs]68249233.EJUG5]]_Wed,-26-Apr-2023-07-54-00-GMT.pdf

   Hash (SHA256)
   354f5572ab30b8f866ec43a912896c908d0fc085b7e1c560ec512b751a40ca51

   Signature (PKCS#1v1.5)
lbkAXqK9NRh/1lgyD2D4nn8GRrFM/pk4WoJgBA4c7i2uzc7m3a8U4djU8o4wf/SxlKad8cno3gMh91f+MqITRLkxL4ZojFdHyL8rtLiY+DDmgGgn73ZDsYz8Rfxg43yLrxlRu7LBd8s2Upg5fHE6TrIJL08slSw98SDtmdIwNbw=
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 19 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Fri, 26 May 2023 17:11:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.66.148

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qvSLpARx9g1ylMOY8iIcBomwopU/De/ExVISgISpncakNjKN5c7sUSnaAgQcnsdF1sQUIo/zL3Qdro8E5/wLG8YXegGTUlHRnKagu6jZ3+aWhhaA09DbA2BuThApiOazkvDCFafz+vOyuNgGOiWiwV13W4PoX4p3c2Z0g3H11KQU+ONHTRxmy0axqf6NRCXBlUABkr+/sEc
   +s8AVspEJiAx2m779OCEIN+jOZy1etqQVOQ6kU4SuR3k21j6EzJ4k1JvbmoWK8Z21sYVkjGi3xU/6/807wDHKytB0KGVxgXBEf8lkHhV3nj37CQ/8nfWgvwRh/s79KSjcNTqpU5vFmQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Fri,-26-May-2023-17-11-14-GMT.mhtml

   Hash (SHA256)
   2bc6c7e1771caa75c45f9bc66b9369c5ebfeb4b7646c27d9ba9a8f6ee8c3d2bd

   Signature (PKCS#1v1.5)
RCeRABp2da8rw8UiIiWtf7J+zY1dBYxxQ9IwVx/g8y32nT8ULSk/5E9MS4wgN1VG8Q1vMpAnseSAWiasj/lSKMTcUgiD++z0hPeGltjEDtoS8jt6+UlRd38xarpD1ER9MFgdDJkbQGoxyUZ5wGhUCljkUrk/gAFSfqpeX7Cp/ZjKYC2idQVJ0A9xFQJcCPFZu2t63XktOzGN+ZTGTgCftvWs/9H+/
giPkKDzeRVYQ3c/TIOJxrXOL2JUlqmOGZmuVBnlsKmP/aV3XREIPnPc0kD7/bLHuVgX9Az+7I4meyPa66XFfgSJUZAi5a2obElJCZztDE4RceqpbYs/DFSa/g==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 20 of 83



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                                                                              Evidence Collection Report
   Page Title
   "Smile and Happy Smiley Face" Sticker for Sale by rosiec413 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smile-and-Happy-Smiley-Face-by-rosiec413/40687561.EJUG5

   Collection Date
   Wed, 26 Apr 2023 07:54:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JdH/tnq0bBu3lZNHY2hSoVUuTThLjEwA+wiqif36k0mtWZA4FaxB4E3Yr6u52VzQN1FKWSO2nqBVX9pF/kw9b1IFRYxfCpvDrjfiT+qGmccCcDdhfJwtoqNi9sCxTS/RiU/m/Q7YZI9/RYv0shiGSaIOLRS5IQGFuAB3bLqG984=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smile-and-Happy-Smiley-Face-by-rosiec413[fs]40687561.EJUG5]]_Wed,-26-Apr-2023-07-54-54-GMT.pdf

   Hash (SHA256)
   a32761feba295813bfe1fd01d2573cad1577288dfbb6b309b6b88405180dee3e

   Signature (PKCS#1v1.5)
rIcASX+hspiPnnLcRvJNiwT3J7V9tE16AZpOYpcapqmC0lZiJqRfZlFQx3R/ZKuxdoA/Qh+NloLXfR7rAnS4azJCbLCVLcdFLqx+TR7tVrwDRQ9T38jAR1uIidDJWcV0gOMws9/EVSzprk8oQk3VnHf2vtHImOsUIFfI0e73HFQ=
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 21 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Sat, 27 May 2023 03:05:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.66.148

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NQ0WU4Jg9trZ+LP/yhWnaL8JgRx0uekELqtwwapC/3dfZhI7gWlVigxNx0AqkIYAkPVdsqFv3OW/O849ehq1d3dxLD47WEXJCCSMX7uQ24s0wHa6ZsCHC0eW0VFff5dCJ1W
   +ebg5Tf8jWtWPK5NzhAmeN3uUkB5CrSeKPTThimw7KrGlF7EawDtByVYnU8kr6ZroKAcElOJcHayJE5bZSViBhhRx8hQEcyv4MNmO1l1EMhAZvYUTHL8SlcUDGPGQQrO5FQazex1dvl9s39rFejPnqawSzI1lV0OsqYyVWSpDLb4FOED399ZkJEW5SJ2BwyOTyb+6y8GuhsyWDdXGsQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Sat,-27-May-2023-03-05-33-GMT.mhtml

   Hash (SHA256)
   4da4a582c83d955223c2a07256ec358e14d667b34bf180d54d83aa9b9f9a4c08

   Signature (PKCS#1v1.5)
dd90sNOVr9t31HYNiGuFdlNdjvI/fAxy+XTMJU/NmgG1u3bRDc2HqoM6eujfMBd9upFWFec845ImhPq94y9pZULzDAcWh4tvjQ/fnUB9A25+0JOAT20VSb/UZsuxEVylXpwCsxhmpaqj5yQKq/kw1UlAli1iNgmWsp3PbNJjoums94XmVHbtZRLSK6G5ZpKAJ9S1oeaBgrKa0NhozNAB//
HxosJ7lfyedLrRkRUvf3jXr/ufHHvAjbwzqTGQxYl6YrY0bxeYscn4GspAmx2T5Sm0t2JsMXa6I/e6YCShRdRD8MgYAnoSwtmfEFmj0570FoxfFcKCvh/gVV7ZiwutEA==
                                                                                  Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 22 of 83



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                                                                                Evidence Collection Report
   Page Title
   "ua smiley face " Sticker for Sale by rschidler12 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/ua-smiley-face-by-rschidler12/64738722.EJUG5

   Collection Date
   Wed, 26 Apr 2023 10:33:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AjxdDHLLfx5hxhR7MTFdoQoRvuR2JVrZcsO7/ZU+GsiSZjJrvgL4nM8PO9MB+pyESUtDiA78k5TYmXbf5lXViImCCUqsDn0TcANPAbf+GEXBzA4rfjltCybAlnMwkolcNNJsO4oURibPzyZ0Q5ZqtOHhfj6dC4pkr+lG737hpOI=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]ua-smiley-face-by-rschidler12[fs]64738722.EJUG5]]_Wed,-26-Apr-2023-10-33-07-GMT.pdf

   Hash (SHA256)
   8aafc802acc06373c808c09dafff6ce3368b0645db159ede42f4dfaabdbf38dd

   Signature (PKCS#1v1.5)
OoL5IXioxbqaULIp4AQHxk05RR7pufL9wymtyY6baLnFSi3ODNfXELAERxUwJwYZ/1WYBwrh1vK30Dw1lTImszJGPmnd0ic0qrjYrf2krF8McyYxbPgFmcsl1sXGDtcYTdg+h5NBft4I+CDj1TLlBUgT1cBPQShiR0MbUZN78UQ=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 23 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 23:20:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49f0:9c00:e896:f762:a48b:338a

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cA1Y4hg/yHDLrFhHOfYHwcmUJa/DZ+XhfB1+kdrHoy9XrxL6i7VhDN/AZQhdLeAkjC69hFgtmXXgd2ErgrcdBcjRw5nZ/B5LI/g47VU6A7+3evUqW3I1q4wb2ohq4W4NFPHIb+yQnPE/KPHdQcpwGrX1OiGSISzuWRW03kSRL4Qdra1BsSyqacS9HKT4bA3PADBEWBX+O4XQAIgwy8SIIHj1/
   ENzbs6lDpuHlGNHFXBZBSIrf/IhkFKzv1LFOTq/RmFQRjEWO9LiFG4UXlAkclIaSwkwCcoZfGYaLPISpu8I/LlvNQBC40MuubbazZr+kdJxM4uFkUsmlTYZurNxCA==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-23-20-41-GMT.mhtml

   Hash (SHA256)
   be98d97ffb328413a77ffe457d23380637ec9890ceef440f528264cf4e12ae2a

   Signature (PKCS#1v1.5)
RL2MwzGnC6aDh6pdVao43clo8NAXtPsd4BGFEKdPNcgiw/VqwD+zRMr5TfBiwJ433QL6MX39Y/TcmEDkAG6owToXeKlff4v4fMxRBGpvhtdU6vyGwSPbDJZAg6c3Jz5zln9UOZMt6NXfCMj0bvNHENPKnzWkj+/vYhOiX28s6RXIKwNNn3GumaxwTGSriIoKi/
ijFGqW5DVkYKbneiq5igX6YiTWdXsL4tGsYOLfscRCtl6w3aTeiNoNYCn1zOLK6LHFPnIxsuPlAt8BWhkUtlWwRgR06RM0u1S+VR0Wo5M+cvK0E3e6HYKYqp+M7cVLwzsrjCdfsKIZxTI3dvOksg==
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 24 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   "Yellow Smiley Face" Sticker for Sale by RunTown | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Yellow-Smiley-Face-by-RunTown/48879149.EJUG5

   Collection Date
   Wed, 26 Apr 2023 11:24:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Wu/TScLQ87v5qfQzNpr2uTNvoYULifMmuN9O7dolS3STkO4cayDD1GMYJcNk6qRzsXi/jRVAa94X8sxcm+NiOSVsR2uRqaBp/MvWFWGPtawmJaX5sa84D3Rkg9Q6pLpwGaBvI/38bURK/LVwRMP5M0HDD0VP7fUPf7tkqelC9Lc=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Yellow-Smiley-Face-by-RunTown[fs]48879149.EJUG5]]_Wed,-26-Apr-2023-11-24-23-GMT.pdf

   Hash (SHA256)
   3c1a517dcfac12f902087bbfb49023ecab6b9a9c3e6f25436abb4ebb3b40a230

   Signature (PKCS#1v1.5)
jiKH/qO6AscmEGd3EmJeCkZT2vSd6FQZX1zSTR7ofafkhgVnP0odCJ2PTdPClUIlF8SWV2daNBx7ZOkNh5xb2HYF6ODWbFzkODqvFF1GHqoANpBzP15zJmI9BIYkvCZoNedeqInkjfa+GteQ4DZAhSykw/mQavIn0hTAw1pErjo=
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 25 of 83



                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Thu, 01 Jun 2023 14:58:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   112.200.70.8

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   snFGPPUa3RBcSjQy2z5VSBK62NV4ZW7atZpTBv+qH5CSRUjGnPGFm+EVP7IVf6QaOUb7VYtPamhrufgfgwpV6mK6adj74JavXZ6BxQiNUQmtxDq7hjfkAxNQPezrVv+Nir0ayosV2pXgU3R2pWTyWqQbslMjSbrvd+kfnoiKYN6az+OY2waCpnULDVgwlXthwmOubQ7OnyNvXSizvhqB
   +bgbOMdOhns/VavhJMSHvEegBRT8gvHR631Y3R5U24jpkHk1zXemHcfV8iBNNzcfu423I7MHF35upOtmpLWrHtB8IToZIGUTPqfVO1S8uc1CTVaLd8dN3cC1NG+jQzvQgQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Thu,-01-Jun-2023-14-58-20-GMT.mhtml

   Hash (SHA256)
   198c5b6a8bd01a22fee3a26791314bc202a7ca195db5eb250fadb1daf38ff24e

   Signature (PKCS#1v1.5)
CNRhCDSdJiwZa6juSb9CvZhC/crUKB3Wz+YgLk4Gcz+KLh/ymRVQvbViYosGRAouiZGodc6AvoN6al9CKUb9Oz2+iYtppT2ouq6Xm3eyCfyQF/4Rs4UUYJdHBt/gQ07SfkEvAiF0+UjkMa9KQGI3UbI1TF/g8qbKL3kD8QUTE2IM+EMoasqQlLqDk1IT3F7+I/
uGff6UrCevBsWRA9dJ5nqlmPVGkb/4CKAc+XxKOAXzge1NTCpFA7vVjISouWNdwQclMYSRAU3yrfM9l8Ndu4ERmEpRF8hqbQyYjRIqCEG3swTvfl16wI4o+ZwYCT2qQ4ZLOupV6N0NZsQW1TURjw==
                                                                                   Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 26 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   "Smiley Face with Headache (black)" Sticker for Sale by RYURAKUDO | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-Face-with-Headache-black-by-RYURAKUDO/63426236.EJUG5

   Collection Date
   Wed, 26 Apr 2023 07:29:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IF/W5+fONdvMryIuRnX+lYJ0L6QBVDxrqsjScyWKHytL/uSfYaHsPJYAXJcLKZZyERS3CbbJdPXp3bDKiuuh9mhAhVgyDt7ZEm+bxIjqk40hYb489LUXLk5VywwL+Xj8RcxfULWD5SIBzH3afR4hB+O9kSVwHSduYYktN5E8MW4=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-Face-with-Headache-black-by-RYURAKUDO[fs]63426236.EJUG5]]_Wed,-26-Apr-2023-07-29-30-GMT.pdf

   Hash (SHA256)
   5b0f8486261c051da15f2c24fbd09c54932ef5b0a1837e260ac921922489947e

   Signature (PKCS#1v1.5)
IGA6WYUnJwbqdC0fF6b1PpSo0m7h5Elxhkhg5NAC1UOKKkATpP3gbwRIjA5XqQqTC5Hp9xT4FLWb3TpfUqJaTpq0reGUHB4Fgrkl2wbGHfO8wXbUKA/Hxt2GLywmMc/YjQx7HE1eLanYgpuIifm0k59a9zjt5OggR/dyGnoKKaI=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 27 of 83



                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Thu, 25 May 2023 10:25:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.66.148

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FQ2vrMJ3gm6k/JqSLdGC6RbS+nuBMhmFlml9noAKy90l22aE7hRCmT3mgYeYsUDLJsII9p+3rMhm+3scSOTxgRE+LVZnqdT/vu8aH3uyJSr0CDwG25mK2nX5TW/k/9Q9QvRV2INdQLKtpYwjg6QN/Q4h6REsWLOWsnF4+cd+2gFgz/gTmVJT4hQkthB/
   bpRzDWJ2JxQh4NiovbcfNrCrM2jdeG6Onu+EE4LLEiniVQfpcs+YaRj6CigXiupxI79BRmQOVnWuZYxe21KSI9wFp4sgSb8lx91MSVljWOymSaXAzO//nAbUsGdu3eMHInNpw+KIUricE3fpzCaJoilLvg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Thu,-25-May-2023-10-25-35-GMT.mhtml

   Hash (SHA256)
   23ce71324b1b8e0b4e8767d93345d89655ca69c6cba5433cff00faad4f9af048

   Signature (PKCS#1v1.5)
ExjMguGE/faln4x4SFw/4rbKFv13yFWnDLXbxfG2VpJv1rzx3ylBEyvrflqQlmkYIVcJilNSZtE8pT36/RIq5kkzxlYFu7DKlHX9jaZq7sqW7kbtkYGqGptM0oj7cgu3S6VbcLnH2Go5EMMxWsstKnn+0k4HuCxsSO0PXrFDKhcL9ZJa0Nx+Ui6WITK10HbVq1wajD7QeNRpETh2n5gWy6V0hmL0dPvZ2RT+f
+M4MyxhOZF8da7I1258xjoCqU1KC2/DtJwpzqFQAL4x2HmpN/B5bYifvdy55pQ6DtCzRSoNtG4F+40B/eLfD5VXTIyt+OyVDzR0EfYmwiSPwvVLug==
                                                                                  Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 28 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   "japanese kawaii cute smiley face" Sticker for Sale by Salrang | Redbubble

   URL
   https://www.redbubble.com/i/sticker/japanese-kawaii-cute-smiley-face-by-Salrang/79517243.EJUG5

   Collection Date
   Wed, 26 Apr 2023 07:29:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BcH1xRkasqf/bgWupLHuEgsRjbAbwSF5Fj6TCfW/oRqtfLpIIFyTGf/43X3NWyeXmxKu72ChE2fvaBTvbbL6CahTaz6djzOLSrlgz60nrx+5BM50kmdQL61kAiKroozfQpZ0aAQP3VGSPOUtVOQa73WcUQUK+gRLy/avda2wgAs=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]japanese-kawaii-cute-smiley-face-by-Salrang[fs]79517243.EJUG5]]_Wed,-26-Apr-2023-07-29-50-GMT.pdf

   Hash (SHA256)
   8d7ea39f16a21ae48e847b0762e5dea0b40c1c1ffa6b1ab3aab60158dde1d77b

   Signature (PKCS#1v1.5)
oId9JZFFu7Z0r+NQLf90qH7JcNE/g/rWf56xD3ahy0fLBHM7JPc9vmirv29rNvfKyOvk1Pn6lm9hEjoVlehHcwpiY7DjfrKXeG3VgAFx/xnVFEDKcHwn26iUMiCtzQ5HO1ck5c3yzUoxzIK9nM66i26vzX2iBdsxca00Qw8vlAg=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 29 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Thu, 25 May 2023 10:28:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.66.148

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CXJQwJYQMHWVESN+c5Ew8zoX8eB0gBlzmIXZBz1TyhvGaAELNSsRa1zHloiotW9mjFqekakH/LzLtmhWzCnDrNw4V05s5XzuDe9mtbYSLnFKAZTyKwtYCIzqF5GRX2M5cWUYEFi15jlo4bShY3aqPqA8I7HJl/
   Wvq6h4r9hPRJxvJwcdgct7BWIPkRS1RVpYWtrYf6VOlKUs2Dfne7sxw43sSWIKMwPk6ihF5hH1JLIjs6NyX+XFHWVnjoxtHzdeA6sFTRixM0S3HWJb3Zcsd260hkyrp4x87Nv7iOel7mfmS3ZqZzv/n3UZ2a1CsqZYuAYQFxKTtRlvDr9vzrRZHw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Thu,-25-May-2023-10-28-08-GMT.mhtml

   Hash (SHA256)
   4dec566a66377005df38ec0a30794d6c950cfd4487f3a58bbf80e8543258802b

   Signature (PKCS#1v1.5)
J4M+W92Vo9zpzrF3cam4nPuUOgn99vZX1b5Rb9YY9GwWf9KU+M5bJCGdrvwkBjuxNoiopcVTP+vA9MqoG6XHYLUYvRFCDkuQbK99RJMDvPXZ9Dhtv5rSjiiLPRvcqRIkiSSAQDzYIN3ZDqgO7MxsbFRH1gWACpXcKjBrLMuU93k8ZnDNUTgqjtCi9PTAfF8AoS1HQLkh8U4OP
+0H1s3SXkPyfSHLqYoLGcdg5X9StkNaOtYzTLh90owuzD6h5JRa7EclP12+r3F1neyc1Q+P4orVEj9Yaw6D/4TCV/reMpM9cpLO5EyrkVGA3qtZ7P877Vs8ITcwELV7yQE6gDKEfg==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 30 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   "Mini smiley face" Sticker for Sale by SamblacksStore | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Mini-smiley-face-by-SamblacksStore/77659639.EJUG5

   Collection Date
   Wed, 26 Apr 2023 08:15:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nDqsNXBQCGnKwr4Dg/DT3Pi5b+jDGxf52Z3VNo5bRSXvnB97KenrQ7Ax638jFAGJAcdiV6D/iYlaOzy/IyHLaX9zLcJl5wqoZMCIZ+ci2P8tQ+foL95wa7pDhq0C43VCUhziK7SUsoI1K08ZdyKswFwomegKW9HlQXb1v6MbPEg=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Mini-smiley-face-by-SamblacksStore[fs]77659639.EJUG5]]_Wed,-26-Apr-2023-08-15-07-GMT.pdf

   Hash (SHA256)
   ee1ae70c00bc11df1fd303458377ba3fa6e5a1fb11ce84fed570eb2b685cc996

   Signature (PKCS#1v1.5)
dHSb0IWN1JdQKwyFktNzF/Wr/TU3DPa3bBU+AFDKv2zpmqTiaxgTQZGoSzO0AKmlYX5y/0m1UGcQIDAL0h66f0pYWoEjuliaVX+WxJYoia/rR60Kri+myzY6kYOGt3N/dgesXzVHBZFdix/1WIaEg1tBnprRLVgWnUl6KGgFgTo=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 31 of 83



                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 06:52:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4924:ce00:5dd:8d57:840f:9765

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kfmgz5++zV8n82Q5gDHOWmUFh4hbTlwem9nV1NPXmDpOVL5GiRa2Z5R+4/Kyi8/RxUoVc9NzikDTsqHCdXsaLsChJDqwfO0D75j679SiCsVUPo1P1NFKdwW5UEMtkKeM5L2MPFkrAGmG8i
   +5iWUQSgVCth2PQ82ZWOYGG8K3o7L9hDoMbFEbHfx3RhXFvaNH1dk4CB0bVdeSr27QF3mqjyfjNvmbecJG+4RvqBr49X2fueeW1fTnRt5bgUzuwAmAxf6jnqARvFe5KqgwKrGDSJXoxu8/BCjBhgpugpwVfxifbbQacLACDvCCrUq03ancFmxjWwJMQnXNxT31pflhuQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-06-52-26-GMT.mhtml

   Hash (SHA256)
   8bcf03b33d85cb151e622a5190e2adaae05f9a6583f420d4de8f6fe05fbbddf0

   Signature (PKCS#1v1.5)
m5gnlWtrXfXSQXjVE8qiZK9/zLnAOf9JN5fqDI1gsAdzeu969RAqbFMzIPUvSYxHlwU/qu8W+MwBXdAtlHx7C3R90AR/8fnXlLOFNngEdcoozvsRX8q1iuFeKjQXnef6Sbok60glcDCbyqEnr9Dw4/MkVYiEOvmphz6ZPxDrCKlfht3mQnSps4Lg5TAuafsaC4yB8XRK0IekmJtelpm5l
+0oBKT9a4tjYg51i9Z59uSXCeGxMU0bJ8StIzBS9EFVlvZGHGE7YWChXgDZc7ikT7MEHptMS22B2HpHeH3rmbRGbBwe4dBO0DAABHf10qH9khb7n0pzuhBKOx9rmmSq4g==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 32 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   "Smiley Face, Graffiti Face" Sticker for Sale by samdoesedits | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-Face-Graffiti-Face-by-samdoesedits/73978447.EJUG5

   Collection Date
   Wed, 26 Apr 2023 10:32:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   blY/TL/Wb8F4a2n6rDALKbxBK6pbY5UdExcJMeyMR4o836PFZ64SMXFat1p7YpGqbeUTCkeD/wgmGY45rMBaRImhckFTZvE7ojBjVIN7H5sje+sVuPQGXXLdFF9dEl7VoYh94Mqr3/dLJ3X0hTldQETowFq1FybIAPPg3UHbigY=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-Face-Graffiti-Face-by-samdoesedits[fs]73978447.EJUG5]]_Wed,-26-Apr-2023-10-32-31-GMT.pdf

   Hash (SHA256)
   b8d0f12e044275b39514f36ecea77d9709f6e42121d997409f4672158aa46bfb

   Signature (PKCS#1v1.5)
op8x7+Ouu8P02A3CJSEBmeuYmsPtBUNUYYOCH/HvSvSoIvfmUkVUFgcBgMT0MA2YJLwDjeE0EoKICDceES6lo3oFul/nuWkbTtdn6FBcOSwuDgUTUnGb050R2cLem+mzqZLmu9gABC1gl9qg1QFVRYDAQJl6n08mMJQ0RX26HVg=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 33 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 16:25:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49c1:a100:7c12:f527:e49f:ae9e

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Bg6xHtrNq89hSrgbRe1lXz1q8oNZ+AwTxf29UPxIw+eicB95UbW118HtdiCdtm4H9Ra2B8EzAgCWrFL6UAScj8EYQexS4y1WUEHUzYnrcymAxF8Zrp0SflhDTxWS3L0zQd6p5fveeTyH8QThi/HA7GdGF59/HOdn5Y3EZgHqjvB3zr9/jELS55TeZ4t1B2nosVjMpuTsPNdIcF1uyi5tLXSRF4jF/
   p3he60fIoBDVsbtmG+czgoyPRpUpW8+6Jgb25SXSeD3co3Fkp0yt28gBndFqhMPY8kzPh/a7mpA+BDrq6Klt7LNT9Smhvu7y7E6dGtW3NkfgyF1tHw7cULekg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-16-25-48-GMT.mhtml

   Hash (SHA256)
   eed52f45c891ff80186576ff7fa9cdc73492183e51752605bd56527d6d7eb8e0

   Signature (PKCS#1v1.5)
Jjo+Kimh1ptpqUvauitEbUCDP82mk0es4cag3PY4Ve26uXwQRk3bq6sZYbHwU+40QhY+wGZIxkQbPOFLVrGSXf20KBieDJITRcg3X9bDkM7Re9fLWzwUtR78PkFLFyuGK4KoGhjUKu87Dr3Oj/b4z1rGjyEOVWNveJd7vYjomuAab/
I8kCrtdJ0Md7gYvAQzuNfOlAo488XS9BDJeHfpj3GdeviGGHlTxJYPnGC7ajd5mYjSs1TeTU2RBUTLPgKuzGdvggnSzkBKvv6qkjfs/Bu+lvxO3iVBJEEoAyINLmFJm0KHwEPRsNuYt2H/ZNTn45RXiTNwAJA7UiQLfwOlTw==
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 34 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   "Smiley Face IDGAF" Sticker for Sale by Sanorene | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-Face-IDGAF-by-Sanorene/71033740.EJUG5

   Collection Date
   Wed, 26 Apr 2023 08:31:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cx1Al9FEz1hUy8h+QxAS+0MWA7ARM6n4dCFp8a8WLS9p2anyFD2LeskD71INUU4rcSY5pfH1m2yiSfEC2k+ng/CW6GPjtCcGeH7f5MrZ+3Ery4XqBBL8bI7W0z0rg/LVyvlQyWb9WNiCgWf61gIL/SdOvMP94pjp8c5kxhB3CQI=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-Face-IDGAF-by-Sanorene[fs]71033740.EJUG5]]_Wed,-26-Apr-2023-08-31-38-GMT.pdf

   Hash (SHA256)
   2e1724e83a3d2e410796b1362a3ad5c00e6202eb610ba4e28105c4d0efc06f63

   Signature (PKCS#1v1.5)
g0xS59Mbz9Fnet1EByejz4iTfhPpgvs3P+NIGWikXj/xR+K+yzv5I7lvKtHWq32KZUwdQn2f2GkSMwfak/V82RSnBrN7ID3+IMEz9GC1Nd0N1e3htmecczhsDN5215ykCMRtqEaLdORObJ6KQlfyh2bY4tjF3Ss2oftUBf/QZNc=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 35 of 83



                                                                                                                                                                                                      Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 08:03:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4924:ce00:5dd:8d57:840f:9765

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pCPHzH4qfX+yAaEj+HuOlysMzPLf1EsC2UZmklfMIc/raOppjG4eSX/vP1bB7WbKjaU6ApgnI83iBS8m07zi/I59YUZRKLgdxBIvAxeZ0sXq+NqmaKOnp7VRnbQeKlR0goO2PNDZ/EDWAyz6ZVYqiSifyHaFrYty2bq7/j0ReE4U38uGqQMH1p/
   E28JRREgZX867GzYBhr9ehTss65BTdjtuVl8EL9RNubGXTtAeQdxj36Bps3OF/+2FDZaAeyGsc30WfezSafz1/6zb9rv2G3oNF8yVKoGgrNE03Mfx8UlB6g1svm056b76InXalsImU65curbC9Rmwhq2Bcp6zjw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-08-03-22-GMT.mhtml

   Hash (SHA256)
   3c46059c805f16920e161bff5b697c901125331b8fe8585a764f9d9a213f8107

   Signature (PKCS#1v1.5)
IHhTHnMVpJpNHEwCbLcwYZO7w/uQWFlYGwVupoMX1wrcyEeQaSAeAAHY6ZMYwddwg9YLSJ7Uy2CqFQqsr2jca0upP/rm4ijPLb8XlGfSBPwNx+zQFTaQb3MOZY4f4T8uKs/N1wkEfg/EZoCH7hJmeb6cuWGSIazY35R0Uny2AD5o6AXjoSblHBXnPNKtEF4Z8P+ib4JzKsDQ/
+AbD7eax8xPQcESWFdzm9srCjzCSUhitjPY5Dg0UB23VnSxhfN+GnzUtU6W3BN4ZyXjc6mj1cLXLZ1msj3bXuQqjtIkT9ovDhYDtcvcvYqnUWLiVvcz3bb+VQavR+L4g7CGhXLNJg==
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 36 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   "Smiley Face *" Sticker for Sale by Sarcasmagic | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-Face-by-Sarcasmagic/120230990.EJUG5

   Collection Date
   Wed, 26 Apr 2023 09:48:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GOkKXQLM5G7KUSzRfN8kkr22nj8r/q0Z5LUnl2acmpbuQCk1hqKVz97zRuy1rX0BiJ2UioPCe4YI3Aj2WfpDNAJghKBb9I9VYWsiZgsJCsl5KIgJd8xIhm1ACtVSD8kTlPvvGaIK9cSOyI00dFGvuDyscO1lw84cBtC0D2J0/Z4=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-Face-by-Sarcasmagic[fs]120230990.EJUG5]]_Wed,-26-Apr-2023-09-48-02-GMT.pdf

   Hash (SHA256)
   6c18ed2e0619162a3af64dbce0a00491be111178aae3da34a3a6b582b076c859

   Signature (PKCS#1v1.5)
Wmubrst7lTxUZU+VhljOZgD8wbXapzn2sp847IGEiCqoTp+JzuGBAqzL1eTyKn1qDUTqhhwSTlL5OroEkIRvxeIhgRBSzWp1B84WJawzZP3LVWol67ApBcbO9mQPIWUZH0qMCGVLJgQGD8wwVWd6HpVYtUhPlMP7uwPLLnpVlKw=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 37 of 83



                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 14:37:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.66.148

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   acYiMRqp/dGlXu4uBWnmP8jycX4D5wdxTLOMYKsOqBLrx3b40LYSRktdU7Go75RYUSORMT0BexWvrcXQQy/vAwRmRKkPuI+jwkyg8wnPp2U7scilTCUskZi82qQgYXmwaJgH/PsCsRPRVu19BfYvpsTFnAQfqkNwf4lT4jDyB/wElMsQit4Et3B/OErz+20oMWUeUqLbQP4L3ijY/
   fp0DdYXNCZjqX+EAr3fSzX8x3oJBdMP4KaNKGdINGha9EQAKNs1VtkC10uZE9kaU/7mOSgY5ar00yOVA6wPD7ih3d4VJ+Ov0mBdfJrBCfWdtSb1wo+e6Xtm+5IcaDPxNQCoQw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-14-37-58-GMT.mhtml

   Hash (SHA256)
   3845c24167dad10fcb925512d1a0008a96c26609cb1f6074ba196ec1dafc7400

   Signature (PKCS#1v1.5)
W3wiDwnbt/Y9cpB5XoWNdHjNFxBVwYH9lFpC6cxeg+L9MjMVe9ZQGPZJTvJfzzN5HtlQuz5X3+EvkjFZ0kGPB+nJ/jW95cMl4ZwK/CqGNVwVfnTTyuZRQgU7GLcUHZsJy7+xkHgNmhxa4qxQ+fxZiXruPw9c0uzh7ntNxNnIGwIn5LQMVdUxMwzZ682ZL/D2KtEsVb5+4Fb4Q/
S6xK7Sz5H912CmbebZqBq0cnRd4T2R+JSSuUc+FW+b4raDgkd0u1FG8h20/euYJAlMGmMdzN9ldr8E18eDZIj40GSOTul6PkxSHG9Cy7eL9rO3m9lHUCV/vcFmidUbiR3r12L5aA==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 38 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Smiley Face Flowers" Sticker for Sale by kathlesa | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-Face-Flowers-by-kathlesa/100943597.EJUG5

   Collection Date
   Wed, 26 Apr 2023 07:58:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NiH0HDKeyLQNRHnCm1vhqP4nKim8lqJWpaFUbUm5a3IxbRl0fFhuonFkfY+CfGzTBu2KdNcby6xEw5GsLZH+xF6nvCB6t6xWkscG/9GnPYrIpkUjfLdQRVtUANZeGmsbDcECCs8w6/4GXtK3Am+iAnnYQyzDA/z6I8RtDXClUyI=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-Face-Flowers-by-kathlesa[fs]100943597.EJUG5]]_Wed,-26-Apr-2023-07-58-58-GMT.pdf

   Hash (SHA256)
   3665dce4ccf1ee222521dfaf363d17c48cf12b4c7844696268b5d9f2fa8233e3

   Signature (PKCS#1v1.5)
plIADkccg+KIZ1reP4MjsofJX5aVXWdNtPD90NNjCZ24+TxIbm7APN3zioSDcwpgw2Rxx+kWojcHMbF7aW6+Ag8W3O+H0GarBgRpH1+aoBQgttdfC/S/UUzuOWMLsni1/MOoI+ciUprUgXDI1HmwgNNHAw425JCBsHNmobAiCRE=
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 39 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Sat, 27 May 2023 03:51:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.66.148

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mVdvb5Y+CXRNUf8yb5zg70gEcF/71YnkvjXWGqK5fwKbCXfKynJX9XavXDwJoTwbn1UeemmX4lJXRfdQ+0b1vfX3+9ux3j1HHM0mXDzQFWHqRBjyVYR13DCBplKGJFTvYGJxyezbWRhQYhT2Q9tSysjn7VIXah3dhozYTpq6h3NBFmoK4n5gUUzLIDGe4QdkXetOxXkem9GQO/T54bgf
   +S5Ww+DMeW/f15a3t2h06d8IqFqmFBnAj6qAlwtTSp8MpEQJwZMaYYspozVoGqNZluybjtt6sikZ1NaugQt02qn/TG1kuCPBET5HiQjIHXRjp8pqUBzRerB7jw+2wEtxdg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Sat,-27-May-2023-03-51-03-GMT.mhtml

   Hash (SHA256)
   fb58b5b052ee1f50a31e38adb5d2a298fa1d882636f441b1ab7d60ccb2288f7e

   Signature (PKCS#1v1.5)
IyZPKTYDjLQxm/YF4joEDzfXPqF/27BnVQfIVE+SDoQXYsUvq6NG4RXNo2PxFjE/znDOsROTnVLOxyseSam8BAj9Gr55kRyQPeeDrxUObwJhSFZAohvLE5w7FJbakyXQWrlK1Xc7U+MHLfDBsy+kGlunwE8iEP1akDz8aFLu2XmIjtM/t0NXnlys9qyvMtGqo
+ZhML2HLvv3N3zA6U5LZmH8ncTFBMD2QYykunC13GfXtWae4oW4ws/jF1TAECPIWKKZon504nzujMRHVAehldEM9NojxW4nJAU/UVCLR/k6rWbMOLvTumTi6nJAdKK3+/0bNgwHcS6ZE1BwowyyJg==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 40 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   "Smiley Face " Sticker for Sale by SavorTheStyle | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-Face-by-SavorTheStyle/63853002.EJUG5

   Collection Date
   Wed, 26 Apr 2023 06:04:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VKYeVUb0bVwhnJ+Lfj/boQMTszuWOo+EDzAr3xdSRl8VezCWmgLINo4qzsk28zOEj8nfpmclprrXIcOAQ5atvnf7dsMSs9I3fZNSrmFpD1v9I8yT0VDSK5pTnNfdzmJtPWpeas0Ka4AKOsZAp00vYJA/FCDwvjKq4xImIZsek7A=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-Face-by-SavorTheStyle[fs]63853002.EJUG5]]_Wed,-26-Apr-2023-06-04-03-GMT.pdf

   Hash (SHA256)
   f8cae85d89586b7a699d5792a28322442fbebe2eb873d91ef7bc98816ef72c0d

   Signature (PKCS#1v1.5)
MtYGK0lNq6XLzidFGuatB10+Kgy3lUfFcPVqZuUiJSpghuFh11arq6IHLfsabrr2jOb3sJL8pgVHfq+PzNfhf+kOs9IG6yROGSAtGUB2CG/6iw+MJ1KmLmSgWyZ65Cu0A6JXqVsEqnsTYyMsCeAbXjOnSoECo7vFMf86rubrK9A=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 41 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 16 May 2023 00:00:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   175.176.7.132

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eqQKqJJ4R5NJonyn9JMWZAzczQ0IrsyIKxLib6bvpowVMW+n2aHnAfeIPhR4MfeTjonRtVP61hFPo6jaoQhnquJw4vY4gq2Uwr5sXTt4qo/KFJnJx6YNzVq3NBbdhmDjdJPbvkOyX3wN08XLB1qaJqGpMChrY7carxwpUptG4tWUjdeEeoTfZEShlSt9sw58m+JqNTiyzy+sFjCEbdO
   +KaQ484ZpEKEqHuGyaxtvIw/nx86QtYXnvnT2TCah/T+cuOyV9JSz8GkeZjUTK79QDct/YsS66EUBVrHRIEbPhYx3SiB5QEm8c0kYlORdo85h63lI8519P7bZwrz3C2QCwA==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-16-May-2023-00-00-04-GMT.mhtml

   Hash (SHA256)
   0b28fbc5be77705a8b07ea9e34f9bade0620e103c2b183f8acb0287f80008530

   Signature (PKCS#1v1.5)
k7/x4G77Bxn7t3FdOKhFOsDGT130djyAUWHa0BrLw2NkeoWgud17DCn2up7Ut8GBsIcmlnupE7NSkepViBBD24C5Qx2tOD3m9QG3l6wthnW0nAnzKALndfnaYKPBvFKJp3TX4i0yLPTZHgtFuc43+Xp2Hl9Tv03Pe1q/rSxLItF5LHs0VnbbavmB4erhYVZI0nSugejybI5CtwTy
+vi2HCDX8jv5iDEXR8y2s5z/qkeKbcTiScDn3KB+kbG8DzgzEb/vdt7ZOXHf7AQm9aNkp1cEpbzp+5kBlrANOs+Adr1uURKVv3juM5qXtI3LouUuQFE5w596ZMdPuMR/iO0pPA==
                                                                                  Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 42 of 83



                                                                                                                                                                                                           Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   "Simple Happy Smiley Face T-Shirt - Simple Happy Face Symbol Art" Sticker for Sale by SevenDesings | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Simple-Happy-Smiley-Face-T-Shirt-Simple-Happy-Face-Symbol-Art-by-SevenDesings/125314592.EJUG5

   Collection Date
   Wed, 26 Apr 2023 06:50:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hnKQGnPSGXkMMzQVct/5j6wUdI+05CxXKniNdmxZG4NUpfDg+exEnqVvKzTscrvwhBKdaMENC9scYbpm5nqya6ga7WQFUU4uGCfuR66CP85GBZ9Q+RATo+abIaoPfd57s9RJXya5mqkf6sG4wuVxZ5TOvHxWyeA2Y+/8jZKQr/U=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Simple-Happy-Smiley-Face-T-Shirt-Simple-Happy-Face-Symbol-Art-by-SevenDesings[fs]125314592.EJUG5]]_Wed,-26-Apr-2023-06-50-53-GMT.pdf

   Hash (SHA256)
   6a4cefc77591d7d68bda7ca59f8601f366ce211cf5d12e211b55bfd9b44c19b6

   Signature (PKCS#1v1.5)
X+UXXtZkA07SI7P4JmWrNzLsYOgPokQlXtVaKfX1aLnFQ8Nr8ujU40HGQ4N2yNTp9JPbdzSMMnCMvH5I2VXESDQQLSmtkikg4B7Y02fkjby2CqnwbjpBcoWchoLkVySxCiGskN9ZpSxcAH10zltnz5IU2M4gzaTnu9/ro+W+Sd0=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 43 of 83



                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Thu, 25 May 2023 00:28:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4963:800:11f4:a369:c870:bf33

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MVwI4pOKX/8Tn00hn3RoB3LHq1awneHabAx639vZHOKblIvF/r/c8sAYBLc3bvxgdKqoCxpGI502Pn2eg93MoyJdmMiB1xvPPmHjri2yAP62E5KVXcS2rjwraMhbL6wN0c+T3UpEuuN2/UDQ5WVHraDCOAcQS7WYYIcexKxX4OyHRnsgCYXfJo67A
   +g5On386G3Y0tT1t5alRJq8RXhA8YLua5xXJFhIBiOtCdN8FSQ0Mlnh3GrVN1HwjiPz1MDDqAFnHUKKgJd4/Qu1L6kDPY7VVHRqVvyKbBQUyoc8vU/2+hN8SwMakCb0kRHsex+Hzs5Iy21S4I2DJsOjB+VN5Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Thu,-25-May-2023-00-28-42-GMT.mhtml

   Hash (SHA256)
   636ff62f07e4e565062eb60445d76bc9386cb4c70ba5a043b760b81fdcc86d83

   Signature (PKCS#1v1.5)
PDmds+d/ZBgPaYSVllEPDYv8zowI/Oy5S0OrtUO0YUusiJUbYhsYsISKQH8jBnmraT8NZ7Jgj2Hly36znZPep4zkVE/B5KNp7uNSLgXnVYTnbaCHlbCKh6hupwyCV3tWYYh0+z4Vi5ALWUXvSyTyQkWNl+JrkSjWwiVeCgFEQY3nyOnOzRnTZUNP+33yeofUuxkqsj
+GKf4ecGQPsTmzUAHcqCCIJaFzsnpJwssr2BDWnvyuicu38tj25BCQdkPx9BlxdImjH0ye9JxlJCNstyUWbdLJKlLK4R4p9ACMn34chUWd/MEupqM6/LYidv9uqDxlvMCMKF0KyMuhHAD/Zw==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 44 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   "Vintage smiley face sticker" Sticker for Sale by shams-ambi | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Vintage-smiley-face-sticker-by-shams-ambi/44200180.EJUG5

   Collection Date
   Wed, 26 Apr 2023 06:51:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LH/fSSHoCmh5pPM5kFTWwtq8zcQt1x/U3BF45tWLv0VSyDQ3NR91D9CQQakf62MjOAMicv5L/FoYyRSTyV/q4mpx6OOPvK6rNFBaDBzWD/0MfOo6dmCxgWu1wewkjOmvluqNmHH7vNI1jMr65hIMS7adJjQZ5KkSy84RCOfPBU8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Vintage-smiley-face-sticker-by-shams-ambi[fs]44200180.EJUG5]]_Wed,-26-Apr-2023-06-51-11-GMT.pdf

   Hash (SHA256)
   bcf94c0c20a3d575f72a57da7741d61435305c03d40074a7a7444091536084ca

   Signature (PKCS#1v1.5)
Q103WxQ34UMh/0al/M4s1BcxwTh5zfirOLgHnBqXHKxFyfQYXXrtCtqyZ1w0ba8CLil3X/DxwWNMNGjJNx8ki/pTVYU8W+KfNtTcTpWuFr2KQlBsgL8EokusJhn++fvyMEffkvo0Ue8tswcK34XgE9tQoX9Nw601G2WWokpTD0k=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 45 of 83



                                                                                                                                                                                    Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Thu, 25 May 2023 00:30:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4963:800:11f4:a369:c870:bf33

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oc5zpC4s6PUpWGCSVtqIupjm3VsA4L3OF8K5GLh3XXAwDTLOHm032kmtlOxfeSficy/jkgSQm5WWQYZQqb/
   cQ5KJ7+nAVzP9edgb7LJ1XC5+5ZN8Wnl3YBwJLvuzl0PEBY5kXlGBaUnOtoeMNkLEb0qBdHwfAphcdXDG44UlWzVFlDpzcnsFwXBPg9FNxS8w87VkBOLANL3ReVd4Jz9kbnpG9sr8ACwjBA4Hlp25fY/
   trl8Kik093NchefvG8fu9ZYt5uqmcxDLSTy1Sdtsu2KLqpBrajahh6W0qrrkH57naBmTUU7vA3RTmnSw3gt3LCCTWLJ3BIVBdeY1OQv1dmg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Thu,-25-May-2023-00-30-14-GMT.mhtml

   Hash (SHA256)
   759ee4121e9b4507e7182176f71a937c558734929ce408b76a69c7f43eb06ad5

   Signature (PKCS#1v1.5)
IOVxK/aDd6VGpe6CLR/Z7LF1/XChV2JyldLj+jymw8B6cCuqbPvq4dwmjU/khKjDwkRgTAHVN9IBv1hp58Ck4nvYDCMsHTi0/8+2peIkI3h5gosyjGU9imsmOh1m4IXSVTtJiJFrPvRJUvhQYTVBHC7DKlItCLzkltmg+gSj1dwn9zic/
u0g5PmmP1DTUULV6d4QqaT7ifd0yRq2891OjtmatWFwnhRO3XeIG4K1VOq/TgRJt6yDu3/yt8GCPMqxOTmOejNZWwfOzPoPX2At79Oygd2x8jB1NAXdoGovzbfFkHb8PB1pahAFGJJsviOPZsTCoUhrr6wHt663ykYJYg==
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 46 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   "Dead smiley face" Sticker for Sale by Shazmond | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Dead-smiley-face-by-Shazmond/56768339.EJUG5

   Collection Date
   Wed, 26 Apr 2023 05:58:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Lf2xLY9XyDRv65WOdpyYi5+s1qAvtQJS6I4mdLfHShKeN2C63HRXHBs+qE4EcKIyLvWx6XEOnlDnbuUjcp01RCXN+NwcHfJJZcMksbuevfN/CT1iiut3q0ek96LIfI9VxO+xjK7tKYPQrhWV7+7hXNK0ebdYkhPC2BL9wBWp4IE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Dead-smiley-face-by-Shazmond[fs]56768339.EJUG5]]_Wed,-26-Apr-2023-05-58-41-GMT.pdf

   Hash (SHA256)
   aeab789641ee19e4657e38bea4cff2ad99976d589e4507ef4fa05e01fd2f9ee7

   Signature (PKCS#1v1.5)
GmNRy03ne7QIndDDMn8F/lnJ3JrpLdta0w2UYYGRDX9t3Cod01po+TECp/43HhUJ5N2FOguquNBzzmgre9vgzXL4bG9fhm3FuOBjhGNWWiasi/N1mxdTGLo5/IR4pLv18jyHvOCe9sn8sg1ge7h8a1m7VC5Ki5LnnVk6Zn//pgs=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 47 of 83



                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 15 May 2023 10:59:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   175.176.7.132

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   3jBbDw4FcUy3augf2K5WtuNmYcaLh8dBYn31jdD52xJbFlGmcSC/1qTgJfsQjXJmieGVg/DRQxhOrb5u0YEOMzE0UlCW4txh/SW3BZDajDA01BMSAwuDxCULsqHRYeCOO9V3V96sY3WT5/yZx6Weg24aMFQjN3MwckmBB+s6aKi0jwxQRHQJLEDTa7CbO17ff+QgXpRJ
   +OkXfsgpjYzycZFA1BzlRb0yb3OOtqIbCJdvMvmK7oWNTJvorTb8P8wRQfqfg6m9BRJ2kk5XTKyjCzD66l39OUa8zZH0jdt+zCEaHPV8Zu21lmyzZ9b5M83maturwIrZFw96n4jxP38euQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-15-May-2023-10-59-40-GMT.mhtml

   Hash (SHA256)
   999d923e1f3f6f8872c7f116f3d487bc28925472000d8f784ca202b88ccfa083

   Signature (PKCS#1v1.5)
ncFgMevcdxGvyxSVfgm9Seobz8fQ5UgR4KeYgSg5yrSVtftyyI8ZLQnh0sNiCPMIfzfnsrUcwHcsUez/mfMFvEIUALbSb2YjGFyUeU3n9/2F9NFMGwXTeMI6uPG98tzVDUicYqmhw/pzjg10csLdfAOgsk2VqEWZZt9LhvMatAC2XZEcdHYhgo2Gvt1+S0j2kpo33/qYI+tFHqft3kWgzigj3ewtFTmLppm+/
kNNRX4vMAYAz44mh0+PphsmWSn4i8kZdJvSBL5QuJouQfWmpx/RucAVZcqzeK34PebIE8bUHFfs9ywfJFVsmx4n9Z8Md6ZIwQpu8aYLJPoQIxlV6w==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 48 of 83



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                                                                              Evidence Collection Report
   Page Title
   "My best smiley Face " Sticker for Sale by skeumer | Redbubble

   URL
   https://www.redbubble.com/i/sticker/My-best-smiley-Face-by-skeumer/43506916.EJUG5

   Collection Date
   Wed, 26 Apr 2023 09:46:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TncG8qsMff095pcfwMuv55O1q0R83Ug0SIG5jcU28fojdDNEwOZ82NNWEXj3nZIRSgcb4TXtesEjwS6gSfNRC+Qx8YpSKlc24pT264QRoct0QfjoG9XNgb2rEB87Mcxp9Lk5/sENJX0X7/6Bg33GEJkSMpdVhQp+DCHRzF7phbg=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]My-best-smiley-Face-by-skeumer[fs]43506916.EJUG5]]_Wed,-26-Apr-2023-09-46-28-GMT.pdf

   Hash (SHA256)
   c4f5c74e27afee0c1c8097fa0e07358074798c120bb2fe7112123b71b4ce3e9e

   Signature (PKCS#1v1.5)
i/+TBnm6NDn9u2GmSyNwM2hha4vL8NPnLjEGeu0UZB8op8DJu1eQ2pMpdqQdWJQR6FjDfIlAUIq062r15In6d9IpNbz70I+V+K97lRVU7WRHIVk+enWCa/NMQyGDj+/zVyjNexXVuMVb+qI6L6WuJPEJWFnCTx2ShMXmEDXLA7A=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 49 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 14:06:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.66.148

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eJS4YYnQudOaI0hGnKoRLNgjaYohfAHFdjSGhmHftwjBLo1H+VGY2OBxO6EU2V85tek7C3yw2FCBHecBUB8F7h6UzJ7HP3ppgrSeoLM+X1ZhQ2z9niAZSWocmQVhyB54pWR9ndd42FxN5B8kOI/
   vGUIVvg1rqpzGdQpyIqcT0dMubqTE3XwPXAZmDDojxtgCJdD935XPHK6Nlb1BeJqIYAvPBx7YZ62eoBELsILj2echeg8LW9C9U7xsszbmrrshSkixkf/fzhI3sJmmb8A5AIPXa7prdcgZEKrTY9R1neDovVt4JKBsOwYm/XwX84Teouvem00qg4umEBe744wEUg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-14-06-06-GMT.mhtml

   Hash (SHA256)
   9a558b2fddc70ad9d90c4ab2d9f7c4dfbc7d27cc9143a9f03e5a0f20b3414903

   Signature (PKCS#1v1.5)
CxBySFpukGujTms7PJCv8WYZqYWMu6GPu2D6eHytH82wxMBOFI/sLuOzYEYcmUGhunVcF1kM67l3RnRpHPvYLcpSB8/wl47yoHDON3nrMIIElDuJQdI2f/cawmH/D+5ksyzXu2/
BKANLoHEFniLHa56u3vkUJ8caxllXj8l7vaZQ8uc1IPCCzrby0BGaDdrnQVjohAeTGQnhwTEDWjs2ecUHuz8IE1t29mYEJ8TQrLOWTzlGy3e0pZiTLfIY/Xd6Ky1m8dloxLpFoBjOmPBq5iHnUpK+pVPDYsR1srXQk/lmw5towIHzSj9nlY0ClxxITxgeNmqYRC5XefDHN6NUsw==
                                                                                  Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 50 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   "smiley face sticker" Sticker for Sale by smilesthatstick | Redbubble

   URL
   https://www.redbubble.com/i/sticker/smiley-face-sticker-by-smilesthatstick/96118876.EJUG5

   Collection Date
   Wed, 26 Apr 2023 09:58:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZjmZQRPhNcyNnt85/OJBr7+FnzADkBjPBcqDvwB/Cqj/+Hx9ugp+PfFH0JsyMdJSnDCCnyxB7Zku2a0n8Npgg5mIrKo3K7dkCXMvJaq1YKmi6r91WhPuVRuRkYQD3eXge0K0JUwRMucfRp9EoNAbiYShMYkicthZJPljUgj2hwg=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]smiley-face-sticker-by-smilesthatstick[fs]96118876.EJUG5]]_Wed,-26-Apr-2023-09-58-34-GMT.pdf

   Hash (SHA256)
   cffd82543a68070c1bb8ed1ee4064f2bd4e81b3703ef56535ef9db77c40e20ec

   Signature (PKCS#1v1.5)
oF2GaJqsjyU9l367k7Pm7gkmRhDWKnSXJKZPLHEz+gPUTeLh+N8QtNRQWx21uQFlVG8uwDdQuHTCXEh5cYFAwyhF9q/zYLRk/D4btkUltfbuC8oG4i0GaIIdCAQ+Ho4ay0w3kbkEJupwVfxlTJ2v4E5p1b5zQPS1rNzjs8cnoxY=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 51 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 15:58:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.66.148

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ryWNOVCC2gpx9TLUcGSSsXMPqgRcGzPHUWZXyKGZ6/gVhXT77Xe2SO+jzmtNXSIa6lTuAiO1wkP7D48BjlK1nn3nWos5uV7YV5kCQwlCt1s8oX/R02j5rALFBHOxYeUP9I3rqc47/WrR3KExDRFgYtLmfKegxDXYBaPEUBPaOkVhTYLtNOfHBJ5S7v4FFPHnI/
   J9vqymeYMlEpWTILsw8AR3iE6QymWzAiKRefqwvIwfBINgTgkjEmVRobz0QanlEr/qSAM7X9f3sC0VLPs5HXeiGz4Tc8pjmBt0dVxzGW85Ep3uSA7SMJ4AbSl2yPPxZtuAwjpiYnNZLKrmSzws2A==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-15-58-56-GMT.mhtml

   Hash (SHA256)
   04e069b30e93d4b7e34b8e2d51df503a189074959afc0cbdc486fd490ed79af8

   Signature (PKCS#1v1.5)
QffPXtk2kBbQageWaiVFhTrDchh1TIPZgNXcRNr810auhMSmyvYtWUCoRNyVXeYmKQrrJHBfy+njbkw6qvGIFpPvyRx1cYta0qP9WBkFOJg2e75z/o1YVQTj9d4rGiJDn7ZUp8MC2Q4G/3IEE3CfzswYl5MB8EO/G0XZ4i0lB7RBnomNiSHEAlGbc6loFfZFHxwq6oIagLhJrNU2fAvlwYLh4Iqn9ZP+/
VmYAs/lIMk+VB8WbxDqBWS26MkCUJUJpHAHhaxHydvLWV7wOd/D8V7n48DoH4UHzJhQtmpf8u/XwPjYUvmSRM9VURbj5xUK7+HyAzh3UQxxpKEqA6pAxg==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 52 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Smiley facec" Sticker for Sale by smurf10 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-facec-by-smurf10/64631956.EJUG5

   Collection Date
   Wed, 26 Apr 2023 09:35:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VeL84YsEGTB48mybdVK8gsX27JbsY/kXPowq/AUQ8iY7Yd5ilaTxaZS/xKu2pqACKlDhSVGkc25ELAP+T0SrkGbSS3ciXAAOpP6bud3kJFJQwIJ+OhxmxecTRHRuaE9XJZR53+1B7gEk6z529TYQZSXQ+lditTt3PeEOFWNIk9g=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-facec-by-smurf10[fs]64631956.EJUG5]]_Wed,-26-Apr-2023-09-35-08-GMT.pdf

   Hash (SHA256)
   319df0f873c36c4d833322b1e5a708e0b3d8451c4458187c13ee3d7dcfb52ef0

   Signature (PKCS#1v1.5)
g4rnu9oi64AUO1p0Vc3n5cF7Ek/VLHNEpzXqK8vdtf1b5SerUs5pIDnwVCQPc77hUuUX+mwsQZw2w3xw/GNFb1NE14ITneV2OR036b64P6fhGHy3+AyUR7Aj3nsC7VdUmuLnbK97ftSOaigc4G77F6ATQRXE3UQ0GmC6NJMIc9A=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 53 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 13:30:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.66.148

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   C3RYlW5C+R8SZnEm9uAhuZjCPdrvXnrhTz4wqCNqpD5zAjIjclyoklIIs0LD3VoZHCF3JEl4GsGfevn1bsQKt15U5zdiXvv2vSMmdLpWkse0soj9eYN22q5RG6WoW1IH7c216nsLPsQs/5lJ9kWwLgK8UuQm7pCjrFcGXvL/FqSkafr0+SNI/sx7WMyQSQRYBlMib3kVZZYiNbmQXHWifMGb3V/
   doQV45VYRjwd0iBq42DCzKbmWZ6tZ5tkznIklTB/JGTa4ngj3GaLOns9X38R1NQwZoZBDUyLsidGbqVFhsCumIXiXOMavu3YC9JdtLb2pW7Stkp3ZT9AHEx+CJg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-13-30-57-GMT.mhtml

   Hash (SHA256)
   5790490443b14c4eb4021a894d5d8b6eaecf8ea356a81bde46de03e8bbc24c69

   Signature (PKCS#1v1.5)
BJZqfMzH6Oo1wO49wv4+ODeno4mTbJPMUV+Dn2Qoec2DpEtlcsfsaEQfKYaIVI3SHwNaTfnZommA5rHr+CJ+as+C91N/QM/
Zjzd3GnTohwP0i4PkIyNcq4zTDMn7eQSyMwz1s4Sv6oI0qtjE1fzTDFJ0HGH1+LGQUoD103La7HTCQ7xeR8zKO29lC8S2f2OuvAWpUmX9iale0SCCOkWFksm9nlOrD8b0ZPM/9pPGE14s8uPGi8UsqE6H55afKa7PL0TNht9EYX7vyfAuH0XI2iOQVM5/N63U1/
F74MerMOqUOjBPzZAAmehAEECiGhPO7lNiamaew0ff5zdVVWKP1g==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 54 of 83



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   "orange Smiley Face " Sticker for Sale by Snoopytheking | Redbubble

   URL
   https://www.redbubble.com/i/sticker/orange-Smiley-Face-by-Snoopytheking/138083830.EJUG5

   Collection Date
   Wed, 26 Apr 2023 09:34:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   g1C39LMdDSFhViqABnffPjwv0+eNjiem5Gm/ZgX4Y0wEs4uRmMcFoYNaHfnxF91sYcjY8AlX3RoPK6lObnMxsLRK+XabpBNf3/xNk+Ktjr9XNVdjoUM7NetehOexSNWWwyFK3zXwv8pCxBrVvpL2D7/e6o85jxzSWgLB5fefcVo=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]orange-Smiley-Face-by-Snoopytheking[fs]138083830.EJUG5]]_Wed,-26-Apr-2023-09-34-06-GMT.pdf

   Hash (SHA256)
   0bd50c4a29b9e30883b76720cb7430bf5615ef389f64951950f56c747c1a1974

   Signature (PKCS#1v1.5)
NuthYlxV/Lw2/jAaBgK6SjE9zCjp1OQ+wwjbU+EGkvTKhROLQYAAFoQcZm7UCu8FDF18QcwF6otC7cP4mK5UbXVxPACfZ31WF+u92XqVovhaU8JOOZHolSXqOI1MN+vNyS3GyOXeTKm+sSg6SV8hfFzOo8cFLqnNu/XHh7tV34A=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 55 of 83



                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 13:25:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.66.148

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rpMsq4saoz/9wGdGUFmEOSDkL1VHGzMnFMAt/7NkLPlmwF0aGkNAWd2LPggzW+9IjPrONEw2zgxWjiA68p8NLzMfwfon9XWojE+k5CwigWrL94IUkX7nrYCebJGk/ShVVfg6A7d2RtAz3P4kv+KDHR/ouXowegI48QLU7RyUvsc0hJglna+Whmh8P4lZhCYFdKhfrH/VGiYOyJFJgQA
   +56DnyGGaEpU1wbN1KN6aag4+dZo52c+MqKp3mHdFoP+reyXbnxkcJH//PZJkKNAVbBYNHZEv6dZrNNrWlxY5Ns5W1IHkX09uxvsIuHVbrlIKSdmfomOOeETdnCRZprQZPw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-13-25-27-GMT.mhtml

   Hash (SHA256)
   7408bdf4af5e470d844d44d53eceac12b252bd504556bff1588e68a0671adb0d

   Signature (PKCS#1v1.5)
Nq5PZo+yT4y51TZeVLdF9mh2/+RxnAnxIvc29Leb0jBEkXCpyxbksiehzHiz+bw58tGg8NKK8u+M2zsYl4kppwuINmq25rdPpe0PqyMkzVt6dH8ahxomCzQvm1wsP+Fs7FcTbxP1XzGk0R+P8ghiF7p8nZPrPqeiH5Hz92MUUyYtuilrC2GCIkoGm0XE3HoCYKsjRRd2Ogd6A/7i1boP+zwj0PIhCBIp
+r6rT1TQIRm9Jpe8+wVKUDNy7vregLaSYQLtM9wjQNvJdEl2N2axqSjYMG1YyRxbH4GP8DhDxm2R2+TfCacTo8Iq9YhkemsGa/jxOIZxE5UPqOmg1kaQkA==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 56 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Simple smiley " Sticker for Sale by Sophglezost | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Simple-smiley-by-Sophglezost/132088524.EJUG5

   Collection Date
   Wed, 26 Apr 2023 06:53:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WAwxovosXNCMDQS8p4qSmVpiUp3VUxjkjnjT26RgSormX1I1OiMY744epw04rxYq4LyHtmk1rR2OpqDrpu34z5T9a9IsD1zpqkxhqp9MjxajvoCLqpzjXaHaFCFkJNTq6W4FBS2gm5OwrgyxcFDpGdVBJM3SCOTdxvDIJb3o4dU=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Simple-smiley-by-Sophglezost[fs]132088524.EJUG5]]_Wed,-26-Apr-2023-06-53-14-GMT.pdf

   Hash (SHA256)
   f15724866abf86a996e55c51f8ac713669841e90be4f991d3684e1423fd10582

   Signature (PKCS#1v1.5)
BGOz/fX2KZWJG/cWUk5A+UK9KyT2zeHdmW8ehYkTnpLHIGPpHgoOCejrl9jS0IuuiW9oS9OZVRyicXyfKlrxDp8bnyi4BHDWoy+057A+PUpMc1Xn4YG7WMV4nnUdIIhQKEkCpl26Do+y7yBdEqXVw7Q4TgYL22AKSisMNOftwz4=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 57 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Thu, 25 May 2023 00:57:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4963:800:11f4:a369:c870:bf33

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aHwp2XaROVG2QGhnv7Qa5VXOXXxwe4gnsUAtmjIuDLFUs4miNm2GqNaYiH+8Z7M/ES7/xsUyR7kJZ86n5vtci4LN41ATSg4R6CmdSAr5MeQHXAWwMJaqc82/zZUZc7tg+Tzx4c1CEmPzH/SmOvoGVF2/zvh7KuTSmZ/cgLN4bA6njKSUPMjFFY70TiHoq
   +Vc6vB0nyqB25DD9NQhglSWyn0Okp2yHPaVJuF1T+owmelcuDPYTJO7XVEu6pGV9/rk7+s2ULAm39rDvbuONrpsUODGG2wJBKX7OFx3kWXKrWIncqiruc+W/OkCPVWELujCKpX2Nf0YASYcqnv1JdAv1g==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Thu,-25-May-2023-00-57-16-GMT.mhtml

   Hash (SHA256)
   cb43a214ba6bdcbec053aaf94a4e314bca23fc6d8356acc52868efcb028dee9f

   Signature (PKCS#1v1.5)
m9IBIv4iff//DA0RbnXxFM3SXsiaZmKpjapjH/k2dLLKM0REiVwbWW2KGvJqOFBWMJi78P+j7OKa/uChWCCFBkzEynsl5o0Kk3oaGEGa+aDEJkhnQJochRzvXQrlYeXsF99+0hhq3P7ffbV11g/XlrVze1g6bg7nFjTRUVmUbRtNCFxGFC7zlP
+A9ow3hkmBEUyIgccjng7xOsC5zjY5VUwG6g19O1ubPMqgugSQBN1SnXR/EeaKJ67zLQemczp6mB7RTPWX8/9srSdIod2NLwXjG8VeswR/wdE9uoN0rfw2rp7gWe6wGs9WqljJKPKvgkTCm/9W+HtFsF/IamXixA==
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 58 of 83



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                                                                              Evidence Collection Report
   Page Title
   "Smiley face" Sticker for Sale by SpaceBubble123 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-face-by-SpaceBubble123/48856205.EJUG5

   Collection Date
   Wed, 26 Apr 2023 06:54:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KjdR/zRAgRifXULFz+a326s0l+e7nYXwvj9KByU2vqbTYUwOG98CdtY26jyPKl/IGVUMKfFlfXhHqt81KyIdKIvtV6nxr20z303S9xhSqsV2ytFFYwqNbemBTnS3X9i8YKbWAOMzB7NL/E5hNekJBKRrS0bYHuozdDMUm3wouV0=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-face-by-SpaceBubble123[fs]48856205.EJUG5]]_Wed,-26-Apr-2023-06-54-10-GMT.pdf

   Hash (SHA256)
   55f806647eecf94f1be4b6ba3a55aa07094c454bf6bc1926b54eecc1e115578d

   Signature (PKCS#1v1.5)
YOoK6bb8tvqmcvJzItlN2s45rkyHZLrwNKXldtCn87BuZm/dwJ3jQMMun4kHHv9CdXEeBlXMvYXodMiVa83swBO5Vin9+zENw15d7g1GzNg4lXbbUzbHXtjd0oCTCfyKx5vCBRGrhiLB+fXzwxLw3ZbL0Zt1lFHTPZWOLPJpkj8=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 59 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Thu, 25 May 2023 01:04:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4963:800:11f4:a369:c870:bf33

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZQEcOqUMcNzgf+D59pchYxplUtr7qfsRpd7fF5Dxn31RDshAFcmQqnjFy46FgBbisoaCPsdGfD8zlkvHsTgChrNjHXpL8Bqefuu2z1nDRX+OWgo2YRuWBaCjxJrHdsbA/1rbdDzglXeH9MhZVhiCA1pt+uU6pQCQR1dwceuIOh5uoGik5JMij3A49DK2O2406KdsWyr4Yu8LdeYakC
   +juZm4rgeMd5+2g6qymwQ2b+/QcAeolG2ZrM6ZZVmUTKVoLLCWCMqKyjFz9SPcK84GFac+2qLvwo/18FYYFGqSUQYhQb4wB0dDHOKiiSrM3Muhm5FnVXcI+ZKmdRoVEJmNag==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Thu,-25-May-2023-01-04-15-GMT.mhtml

   Hash (SHA256)
   b481e35d012782158041f25a45cf9b4c2d3671a996e8a73143a8737d9f747f55

   Signature (PKCS#1v1.5)
r/joCBJj54HTSySBmCNY6XoBO70jK543mc6gmC0vQdbzdIcZedyDH/8HXhxpGQWTQv0bkNbvebyzub7lzRlypfAi9CGFp+Op7l5t4teAC8Q6NC0/ttzPeU7x57MpKtIkqklNAWgylDPYYM+y7dgz2HK3ETZnZ6KUtSS//ET7SYVPPK/
Wp3o9kOtvs9BbhUiz1D6L4ovwn4OHMJyqnZgLBbUCUt2xIasD0KInXCPd4CpGickRH7jknSbKhHGHRa6H6LwXhuNNj546nNhFf3vzW/qJIS/Ud2W5i3cze8kG4Dz4viAwHVvXXZ0BJ4Hkz/CN1I+4FRY1BzIbFIjU+91HOw==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 60 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Smiley Face Wink With Tongue Out - SpamArt Logo" Sticker for Sale by spamart | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-Face-Wink-With-Tongue-Out-SpamArt-Logo-by-spamart/66692166.EJUG5

   Collection Date
   Wed, 26 Apr 2023 08:25:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SELIhcn9OE5keAhXQ32hBRzs5cQ7yKLC9nHSBllfdAdyYiCjhU5X7yHvlw+gnmUCnIg/mtxFBOV72bJCBhdsn7hM6zuNG4JljLTQoRDtcY52LwktfOhdFvqtEdbOwsSmq/uAwBVl6i6vU9Nf3oxuduMExfflHxyRzh6sZ9Cf1ic=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-Face-Wink-With-Tongue-Out-SpamArt-Logo-by-spamart[fs]66692166.EJUG5]]_Wed,-26-Apr-2023-08-25-26-GMT.pdf

   Hash (SHA256)
   7a30feb1560b60863f4366f1fe42d1d35dc77222a155a71d328468da7aa6da90

   Signature (PKCS#1v1.5)
JSzHW4LfHnMQBnkficsTbKgqvlunB8ttfAKlFnQ2Gik1FEKRZIBzHPDQQv47Vi+oEdiNIWF+9O7n+OPQwAfGKPn+3WM9TGQaW1+EsFllD/UuVy4q1Dr+FJu5Kmpw6RUfqVnTxdItJxrqZ2b8Iec/c20wyzkKQeCivJqqwhUymCY=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 61 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 07:11:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4924:ce00:5dd:8d57:840f:9765

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Pd6ZdQNhw+lKfILjXTBLCfJ/7zCxeSx5coKiRyc+ooVN6mXED5jE8gy23UJw3Wb26NDUT36/XtYmFl8f8vRSll1G1ftjOXtD81LCW1sNdb2Y0YGiiGRbfIcD8zDdtlK1F+nM54Tp0UgxilmGQDheg2F0zY//bLxcSsXd226y2Efoeg2cocBk9sRYkrCqz5k
   +G2ao2+rhm21NIzSmhO2gr4EB3y8snn60XPY/l4EzNhG1ZW1SDBL88xOrB3lfyqsPa8Xn4QwSc7vP2rkDM7YpmFFq0AVVCLx7bDgRZlpHdEdbQZ9fBorivzjhDqjpFaAKvIHrFo464Ai+wXSbIaIP2Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-07-11-54-GMT.mhtml

   Hash (SHA256)
   6b65517f12fac00842d5deecf5b5d3f7e95f55f474497e494035f9f135d9ef2c

   Signature (PKCS#1v1.5)
NaHpn38SsmqJnd3Q5OUPyUzG6hnYNnZPydUD3jin1BKstYyYwlZWeFwAJBhtN7cK6UT2Sh5Ddx6Ei1WnZMz0lUB+01Cuw4HhgCm1NgnHTCBBN7yy0qax1CjefbWTVhD0PUrvWWbUGKSGWAfBv4p2zFCKeyy5p9zw9dk7+B8H6vI3dQhYPZFh1fNgA
+SRJi0acHDVVtqxp0Svi7udMn/5wv82/54xjtItiFLWRl31cYtGWDA1H/Ij3YcRnGh+NG8ogGzooykSn+xOM4SzWBSwN5y5jiRu0QAYVB62CP1yPZU5PHA+udm0rgesK9uqWG9ISRLJymrfWmFrbzr5WSt8qQ==
                                                                                Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 62 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Dripping smiley ghost face" Sticker for Sale by SPECIALRETRO | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Dripping-smiley-ghost-face-by-SPECIALRETRO/108197656.EJUG5

   Collection Date
   Wed, 26 Apr 2023 06:23:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iX7kx3pQp6x339qsJNdg5ypCkA24uQKUq8yxBV95e2Q7cl4o2YXgGR5SVr7RwGKYfI2jJfUH4C5KiSr4j7lsRkNF+Q8Qp+pgFLFSY7FsFN0NsXT4bECMB55F/3DBVZ+aHH+FQf8yMpUlRBfJ4T5blsKj/BJaVP7OijhUG1xZ/fE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Dripping-smiley-ghost-face-by-SPECIALRETRO[fs]108197656.EJUG5]]_Wed,-26-Apr-2023-06-23-56-GMT.pdf

   Hash (SHA256)
   ad787b119885feb5ad8c9cd2470c1190d35d595b8e5891bbb9bda1ef35c074f0

   Signature (PKCS#1v1.5)
A4SM8+jEGEvT31fxiEHS0S++Wa9th72ngG3kaGsLNgeKs87HtdZG6C4M2p4BR1i1SJvi6xiuJxBdj/Uj+hyAIp6jwK21aVWrV4aMF3OC38uenzT6VHWTv0uAK8PgeohNg5NcX/KeUqCskxT0PTrvspGRqGX5+VERhq62yFHh+qE=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 63 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 16 May 2023 14:08:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   175.176.7.132

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kU403Scj4xbXskHo8PRuN6HQ6WtVcswBmgdIIiUvZ4a0nYCsvTT7OKz2IsDf0+5QRASO4VYqKJTdkrrnzsHbHB05CuN+ry2V6wzV6Et3hd57GioasSGeRfUTnz+vD4yHZj6EknCHhE18US+x59Bb3/rrhlAZ+zh5PIPNNGFicityHkyLOk8L85sBK2Gtxk/
   q2uHo1yJTe3TXQneJWHpCCU4IPEaWQslRidUFSplI+4qo8yBfgnt9PcFGFerPbsZQM4XGvOcGfCK3iXv0Ti29Mc6qBIw+UA2cqzg6MlaQoY/noGAuMuUAYYoB/HW57bPL9irp4t7+YZQDhzH1j2/FSw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-16-May-2023-14-08-49-GMT.mhtml

   Hash (SHA256)
   25f376383a01d433552138b2ada090b75da59459885427ff88619c7c53cb4055

   Signature (PKCS#1v1.5)
PYTcYcy+JYJlGKzY/A1qOwYceeA/n0wwazL7VkA6tUm8Kg0I+3PhajTJMyCbW+6pMbYs8NRt9kL9KcWgvuykXr/S2eMLh6E86x3nTjHlxlQIj+MfWbBIet0/niyk+lvt9JElfTJCscs5vGatU6fpckNcCE+jOjn9MF5VvoXp4LDbnvX7hvzTfWmPH5Pctg/
sadm5Ddqk9jfYjUu86qMAXvJ8HFuLNSCN4HHUD/csUunkbJiaKRPDmsB4XMHAjcQDHcuWC3IKCJRwWCDQePT0svjywegkLf2epasNr0s2vlhA622ZQTiRJUlzS1Kr+Lp+zihJckZ9heilfWBhbJNbiA==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 64 of 83



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                                                                               Evidence Collection Report
   Page Title
   "cute smiley face :)" Sticker for Sale by spookyhoes | Redbubble

   URL
   https://www.redbubble.com/i/sticker/cute-smiley-face-by-spookyhoes/54929845.EJUG5

   Collection Date
   Wed, 26 Apr 2023 06:38:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jm6U/m6L373Q3ttbdG6TUqmn5mlUBh7696JeDGX7A+0hS9C4vZmHzjNsXUK/fQy8ssZYODLdxQREo1vSjOTT4pWYV82Le3dXvrCur9ZZagyDSDnUfPK9jJ/Y5kVp5v+TqHE+LPsiX3rWiaMrQkQ6MH+Gh3wL/2PsYAGD4el4rnY=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]cute-smiley-face-by-spookyhoes[fs]54929845.EJUG5]]_Wed,-26-Apr-2023-06-38-44-GMT.pdf

   Hash (SHA256)
   f5a78dbd4d019a4ffce3851cc96852453359741fa8f295ba0d6b9d202300108d

   Signature (PKCS#1v1.5)
h2+M5+g5wWhKkjA0E5esTLVCvmpY1+Cb42gbSZhEiNki2uDWpubVVzGjJfrjICjyMVx30YMkUh6EDKqitsBL1qhPRYLcHXBKsdSDjmTOiN2P9wdz9Lvsr6mGmsiUaR5QUntSBPIEjJdzGlTrJFMSActAE6JZbmnpAdi8DJVdC+w=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 65 of 83



                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 16 May 2023 18:30:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   175.176.7.132

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   4zJVN//XNshg+u02d4XRblSkfyv4KANHhwao6DHRux/oTV/v6qVIOtYEN/qZUSvi4GmRjXYskR9iFB8DqFEu8fs0f8xk4n2ecMq+93oxNoRfS2rGfAsxXLbxnwivEo/pqYobmfh+DhkXinTYQaJT8mWj+Sfly9AwioS/A
   +w5iJepdVCMlBTcS7obtin0ZbPNNpgA60uDiWerRoAUfIegPf8dNvWihBYQ2T0+Bcb3NHOStsJXI9j2bdTyRnTdW8SaYaazyWtECtxe9FPVJOSmwvEW1IMnD9FrLZxegruX8WbOeuVcMBnYe0RGw0KSb0J7Kevh7PjYY+VcAVOAcyso3w==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-16-May-2023-18-30-28-GMT.mhtml

   Hash (SHA256)
   e33dfbe54a5ac71a21411a82b21d05e3ca166513bcfbb94bed970e23b8729389

   Signature (PKCS#1v1.5)
XE/A9ar/DtQpDfjRsDLlXi1+dhqyMO3tyWZn0qRa1XnzfXXOom6ql1KT3lsVqy1nv4hqma9p6e7XHTVpgAFE/phocisJi/SGXFHcv21N32s4lov1nHw5b/SB13hWDIKIqF3HPRmnud9PlbTdw3UksGR+d+uShdA1LVf4ehDP41uoaZE6eMoXDsVMy8yb
+DHj5A1r0BGcPfamkBxST17M8s7W6m3G4VQ27mmGfKNDMHtlTCqv9MTpwPM7t970MEzbuheuQ6bqs0ElOlhayOpLLaJZA7dPGQdjWwcq7sAme7B4icyXrNiZM1LCYM0KX7Uowzju7eJabymKGi1pd23Mfg==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 66 of 83



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                                                                               Evidence Collection Report
   Page Title
   "smiley" Sticker for Sale by spunky-creation | Redbubble

   URL
   https://www.redbubble.com/i/sticker/smiley-by-spunky-creation/119829157.EJUG5

   Collection Date
   Wed, 26 Apr 2023 10:58:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YTTQCYyQPvmPoy4Ogi1fanu4stiDh0rvnaggOvuip9lICFOwnI1Rl0dY8bKfZSJcTZSTPd7uCUPM85BunWANN5twxiHwP6vcHhSPzHN510iMMoN0oE6SUcYJCU4TxnBM4y1ZC/ghJhKZ3KHjPHjU6dD3YzPseESf5KQvRRsludk=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]smiley-by-spunky-creation[fs]119829157.EJUG5]]_Wed,-26-Apr-2023-10-58-02-GMT.pdf

   Hash (SHA256)
   7ba2f64b33893f996f52dfc54274a22f8df8c3fd5edece3a333a6d1b2fe52457

   Signature (PKCS#1v1.5)
CEJgXk0ow7a6yxmKGtFYrJ/TLIB9Nu/tif3/pjyjdqNV8S+ocCAIPMkUedNR/sULZUb9YL6/ZHzwRTJK5xa/sKMq1377JbNi+mV1HDt/mLe+EirEgXIlew0KnyaxmIXXYl724T5FXAjYst8ZMM0RYLnLVy0yv08QtfQMTh+qeBY=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 67 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 30 May 2023 03:28:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49f0:9c00:e896:f762:a48b:338a

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rq6IUw+gMxhKYoFKZhe1CficT8S+AlCUVQH4vv1N+mRQcA+8DvKJ9x2c2JMDXTwC/IcZeyMeNVzfnDI8xHgw+QRms8ZC1Ij8Id1MWVnDCoL0TG8UGqjBMJHwzfaAT2eyYu6N4olJwODcbT8Hw0Qi+beSGwwgjoLCU1eDHsRssD7yfh5y8dqp6k8NLgw/YHf8EBP99D3noI/Wqjs1cU
   +NXaZ0NpppjD/NRp/8rUaYvP+1EiuNs0VIBXWTY/EGuNchpDYqf0r36j339drKxgO1vFloVmm/FtkpstdBIeqqgEzsbH0vfXkhVlHtnnd4ZDoRjSazGKVtXYpVcLbPIV98Sg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-30-May-2023-03-28-26-GMT.mhtml

   Hash (SHA256)
   8f9642adc84aabec015dea5522ffc6f15105ccea7179ffd2540f6372cea2d26a

   Signature (PKCS#1v1.5)
sbNYKHJOilIThKWMEXlS9sa5QHC21y2DufoXn6IYFXcemAnD2AOgRxp6U0DKdvMdQ+//gTTl19SOsHhwshZJiujTUDVPFHlDAKc2aMtlf5crdcXjwrE4Nsjewt+pTcAEdnuQp8GI0OotorGo8+G6w1fJk7sYVx8WjYfZKjf7npj/X3DUoIo4+D9HfHBC3kCcc6CIsP5E4nbtxFCpM
+91UCdnNVaC1yqfNlBaXs5l4VW7zSlYLKSuJf0VEyTGLxP75hjSKTEFcOUHxbT62Kx00KCA0Zbx+ifT/2nyRdv/tae+f+yWJMOYiayqPqFWFN86FRK38zCTYufSfdFYDS/hfQ==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 68 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Smiley Face Money" Sticker for Sale by sroppel4 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-Face-Money-by-sroppel4/84872027.EJUG5

   Collection Date
   Tue, 25 Apr 2023 12:41:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ePw+2Cv7YuRiViQ2BRriG9f1j3eN+/5sLvevLpMYo7CwieuOxFHObrTe/hZ7qGZ3KXN+Ny2PYVdf2prAEbidi/KfAV5V1bPo+F0JSkM8Z6U5K94Cn7hD8fLTDAaCLNISVs0QdIwFoM7PetZAj876izUGfglTSapGtspp5yon3R4=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-Face-Money-by-sroppel4[fs]84872027.EJUG5]]_Tue,-25-Apr-2023-12-41-52-GMT.pdf

   Hash (SHA256)
   bd2874caa58a11cd2f93f3aaf8cfc51c8be0f57bf6694f3730589145dc034ceb

   Signature (PKCS#1v1.5)
pYX+Iii449Tkyw6tVXC2ZjepEfRnYNDXwkZSU3JXCWThkm446t2iVz9clpnb6ds5JR+/ig35pBIrFLq0Cp8k3NZk4cru0qE6EwfZfAT+hrNK+yqGFv92JI86onWWRKtxUQW0zQJfM+FvCqyJII6RyOYLj+FsKgTA0VRo/mGOlqU=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 69 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Thu, 11 May 2023 21:56:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   175.176.15.166

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TNMCJfynXzwJdiR7FqVkXCaT+I0cQNRdBO3WnivlVbXs1RKSiVeQFWJ0VuOjQbGDcurhUBpfZbeZ/9VZYZM1lfplbdK8fN5HQjGgmr9sVaVXep5eOJs+6PUfoClf6cgzWsPAiqp+dUyPDjJ1oGnfBwRTUzaakZIhfwHYn+pM012VwDvpy6ZaFkz9exXOXE
   +Zep1WbwqH36Yp3lwqimBFWLheECk7yYzrQ1MCt+Bll/3FePCkwPMk0/6DhGuXkOUlo8yD/PrBeuNArYXZK5Zm89WPq5pqQIWD+qo2knn4cF/WuNJ/N7gX+2/i5F155eej7LAJ7rEKz+THQStqxEH/2Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Thu,-11-May-2023-21-56-38-GMT.mhtml

   Hash (SHA256)
   69bd749953ea65fdd2104c3d419413f4afbcde45993c466023784d85d317d0e1

   Signature (PKCS#1v1.5)
moVe9NoWvm6unRlA53c2u6xr6uVEc0bOUEzXoeLTwKOaNmTGYPzdWkSrQaDEm4HqPLH9WW38Y/HN3iQVlpxKPXVV2FDo2LJZC5nGwBMOtANbzN6KSAjvJwrMro7fYGUHCUIHrhv50Ibqbizs752q0AYJOnF1AcmzcvsDIv32Nn8R7jWrfv+4RKH/
JOABEO0q4SiOji9TsHyiAKcIXZkGVzJCRkxSjHJ15fBiWuqip2HA9hY+rE7D2CIJnQ86khBkcSbrz9kN1fREAxlU0r3mn/dwK0zQjvWJALeaM60MiRmzR39pdUMQd9A7W1I1nt+FXjWBiZaEW3IqPWsyb3Q2fw==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 70 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Smiley face " Sticker for Sale by stasiasmith08 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-face-by-stasiasmith08/66247516.EJUG5

   Collection Date
   Wed, 26 Apr 2023 10:26:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PHqoyKWxS5k7nR2UXFsDVJERYQCYtpOG3RHZcVC5GNjcR5y+3NTeMGsDbnPRFdIW24rOsCa5FWZCuzBTue5856kMLYwiQvEA6augymde4Qt+JeDLZJTIVOIWHWHJ0uMz6SdThf5bjmjd25IkjGYpy1EMuQcO1tDq4Jmxk0KFPqY=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-face-by-stasiasmith08[fs]66247516.EJUG5]]_Wed,-26-Apr-2023-10-26-01-GMT.pdf

   Hash (SHA256)
   83e75af939211e92bd9a26bf080a85b35a8ad69cdc6120004dd8a21bc5f55aaf

   Signature (PKCS#1v1.5)
LgFzUfl+n1LN966SRhL+GnAqm9IQLjr4t+dJ6Lu1j+lCURKQ94cwzL7dU8wboA+JwN8xvdc9A3RolrBvFP1Ewn9SYaMibSzKGoAC6AGlkLRuthhZhiY1goHGq+cJrZK3w8JTx3le3is0mfk/oSric7GeqjgXE/oEHweSOd6yM9U=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 71 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 16:20:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49c1:a100:7c12:f527:e49f:ae9e

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lVYROC/V7VHqQmkUPLzyCYNBNKz4mvF8COD2U9wf8P5whELPTwGM1nciX07F6c7JEYUD+AMTL4m+yE3fvoRBZ3f2IP6LMD5zylUUWcnlOF3l4Di4Jnpr7jiU0qd7rNzcB9MfHQbaqGy2VrpuL+zr0d0MgtITHssInTfLYG65ZEGBC/eAHA+85iuBaaxaE9/
   G9peAfYgfzzIHHhugcVDYNxYOsnpY5MnSeb0v8ILsr51RmOeahQklef7gbcBUET53zOyhj9ZZSwaQXGl6ES492HaSHFxrn3NB+OMv8+3HAhLeXefFPL1MFCNN9NfpPlZYDsqDGFxF2GEsDmUWaYXx/w==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-16-20-14-GMT.mhtml

   Hash (SHA256)
   1be0db9f36d3bd57701a42fdee7fef68366104b4ef0403263273974f7aa3970f

   Signature (PKCS#1v1.5)
pDw6GdhEeCiaj2wd0dLuIzw+X6XGi50Gvx6OihAfWESwXH7WggLmjsBgrBDuYVebbU5Lm5UmMGJh4pFqnU8BHRhZSQevlk86QbiZGqmzxWHSpmof8l+fngEsRI0ej3oNRrSLTf4oWPGx2Upr24dCJPNIFRMV6vWjDtuZ2K
+7saJe688l4pg0gd4T8eqLc1EftG7vc0K9HeSgXRZEec3CXXMoKZRwLYGdjZ2PPgOFjOQ/5nrMAuIH+7kyjVIUuL6VA/X5ILysRt07hbsvD19I0qHR20m6tPkmhL2j39drcwclDyRcZKqLNfEi31FRaJxmI8rScBTfPxKGvKx6vxXg4A==
                                                                                  Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 72 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Silly Smiley Face" Sticker for Sale by Stickshow | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Silly-Smiley-Face-by-Stickshow/125462159.EJUG5

   Collection Date
   Wed, 26 Apr 2023 08:37:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lQTJasnP+NfllWHzEkPYf0MLiDRffY/HIZUe/HIvfNANic64/HakoxLUYNinCmVUG42gJs8auRZtuaraGpL0SewE/RwOg6UQF9W5yB12XU9p83iIinCr0ZK0/OHdD8/VZfNLANSZsrHRpKlJc4yRFGF11Suk1cAgLZ4MGzC3ViM=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Silly-Smiley-Face-by-Stickshow[fs]125462159.EJUG5]]_Wed,-26-Apr-2023-08-37-51-GMT.pdf

   Hash (SHA256)
   96f72a229858449f5f0e2dc6a93e1660ed508993fe7ac5b1e5d0e8bbebea4bb2

   Signature (PKCS#1v1.5)
FSJ1OTihT/ORkEjg28KEvSwHpimeC3S7vXxpGRkCdiBxxU/dbVgTILzZdptyLkOGMZijLAxMJ6E4cMansk7tp4Aw4reIV7HzyErDiES0HUgLAORVF12PoBwQIAVk6wfFAI1fumcd1wCbT7+OUVPK8IvEQ9G9umFuqS7U4sSR0GM=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 73 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 09:49:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   175.176.30.31

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fYqxXTht0Ce7PjQWlgF+PZhhFd6sHZpJF1onlSvYjVZLv65sNydIPghxUhK28puvthLfwEpIQfehoIi34OqNhVQhWC07mUl0xY2zhPGLVRjHNMVP8myANB6y60WJ2m3l9Lmst9Swjhwtfu/Ggya0zFaY2hdc9uGeeZ15P/
   sgA0nvYungzW5xtkXUbsqSySg431c0Z7oY3PejReL8fkvklouVRI98UjJa1EzPH3FipRMbBiXXke1votkOQVHvQQ8Rawe2mqcxVU55tYMZRnGHKgD18W2plg8Q3nzxOtmNp1LbxdDL8VGv9ttXS/yTnZU+TEVZJccgXUNcI2hyV2/fxQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-09-49-28-GMT.mhtml

   Hash (SHA256)
   f5ccfb1e579715d5cca5f9c220d6e6cc780b7875e64ce9cc4466a335a65c5141

   Signature (PKCS#1v1.5)
VDznW477d0poiWOqufftKRUpPp2VlLcPqyd0v4P8CyG9fn1ScbCzMcniko/t3I4MpED7ihm+zwfr3xN8V8hQnHcKcl9B6g0z41Sk5HxP4N8TjPDj8osCalBDQiIdH6QtlS0lC7sFgEcVQEvuI6O4m1xJtRBXKf5cIEHwxx6nfE+q6KPis2aC9XZ0/DmlDaceHr/
v87dF4FQ0hsQS7L6tPElETZJUwdkiSln1WL0M1fEMnT/xkmxTISk2C9JGsfRhw8LzRqYgQOGzCslV/QnS0Cxs2SMbZUrHwm/5Kf0KMVgLgMwTo0t6GQsG3F3gLka3quBWTqRKkTRLbUY/PdPLaQ==
                                                                                  Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 74 of 83



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                                                                                Evidence Collection Report
   Page Title
   "blue smiley face" Sticker for Sale by strawberrymllk | Redbubble

   URL
   https://www.redbubble.com/i/sticker/blue-smiley-face-by-strawberrymllk/76897679.EJUG5

   Collection Date
   Wed, 26 Apr 2023 06:46:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dSLfczg9oIufnFhW1Y6jFIMMugQAPKDnwfbEPQpSEH3oPDelVaD28LoynnBLWPQ7QtUrRehPRaJD60/VgE6W0zuzv3cWFGMWMdN+MDlSWlklQsg6UFjoHqGDKN97u4H9DSm4SV57OaRQyVuX/bWjxqQlLQzuPxxiMqeda5bgTI8=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]blue-smiley-face-by-strawberrymllk[fs]76897679.EJUG5]]_Wed,-26-Apr-2023-06-46-10-GMT.pdf

   Hash (SHA256)
   e12aae10f2e4acb944d5226900cf3cd09a5ff85835092858ec2ecd83ee77d8a8

   Signature (PKCS#1v1.5)
ma72evlSJrqoH0avO2GfYotGX9JXsEismWQbTu9E4/4pvyRNBSt7SkcZajl6WMrdWKp+K984nvLm463M+Gcb11kDQ0Hu/Yi9vVqEIVenBpaCzsN2tMYdTsfjGLn8BsFFEcJR5dpqq9ftJjnA/n9Bpr/LywB9olGF2bx3l+YkvhE=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 75 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 23 May 2023 15:08:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4952:f400:8166:6dee:1148:dc0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hLRIMYhWV5nnelyl/XhKHD6uhM+C9bC55iXSqWfovcvEoEvpEQ2eIfcuZTvkbm2mWmxB1SlEux1DtkFEfK7dCL9xYHDZFf3uIZNl/tkXss0l2qTwe03OuMRUWqhGwuISjE4YBmTj9avHM3YbKAFTTB2aZZYdnEPwb+mmQbNGbInIrf/
   K7YDDSyos17LzaFr8JMXr3GySCxvToB9FOmHG1VmnQoP2Bsf07a9Qd7+YvCbWqKchDFd7lIs9+/emyN34F+OasBTgSrKQSvjSETR09jykZRHHPpJjE1amV0qePwKAbV6FSCNojK9aWdek+pY2jKgwVgtzhoNzPUFmMuYjjA==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-23-May-2023-15-08-28-GMT.mhtml

   Hash (SHA256)
   28d866ab4376da2da0361c19b8b415c46c2ae1387d8ae6e808d1354976e13b37

   Signature (PKCS#1v1.5)
GJ0CZ0xa3ws4AjcBu0QWABQjSUthpQzJaItLBBt21iHNJsWW4TTsAoVP+knJs9IQYc/nMvYnC6z2pUkv3DSj4yq3eZ/sVqiw41ksoNMZoeYK8q5ShDNkmlF2g3yXe1kXaPYaPI7p7edXoP9dlDIWFYz3yJ0azTbfTuErVPQ13v1fwxgvKecR0E2gCDEiQm/WO/Umt9ND8NrTO/
nOO47vPFB0X2aO9syCnJM3XUdiuT1uKb+QESMQJw7UnSL7GVlBcAntlOWlwh86KreJy1GnQBWgW86W4HEnNoaYoa2cMu8d5ZtfOok88QWWwh9VlxDarFjwKb7oVoSwR2MFOroEMQ==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 76 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Smiley face emoticon" Sticker for Sale by Subbtheartist | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-face-emoticon-by-Subbtheartist/55607367.EJUG5

   Collection Date
   Wed, 26 Apr 2023 06:45:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RqDpjcqgBIYLaWZcNVllbQWukTghWbKQUXbOK9OMgW97YvrrrOA45Jiu12DziKBWOFzwel2QfjTiTXQVKVUeysjJa+OhE35xznPLW7guSfSQo6UQANavA/u8jtLL/7tLKd0bo4h+nangqAg86VeJ2vxawfGY74DYAvSFOhZm2u8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-face-emoticon-by-Subbtheartist[fs]55607367.EJUG5]]_Wed,-26-Apr-2023-06-45-22-GMT.pdf

   Hash (SHA256)
   198f6e9904edefb28e23067284b6062b06c7cfc7e2949d97b2d26f96f0562359

   Signature (PKCS#1v1.5)
KnCdKgwPEVPQnsyLxDvRvLSOVrpdI1WaGXyEIVQKguzuLdoMBERkiWGuZRof1hTB5c4V3bIH7QcSakFcViSg9Na0hwYP3+yLR45BW89sBEeXIsLc9DRqWaN0OMtLIEWVdotk7+u8S02mrVtXtJgPHGP9tGEbujWiV6NsMmXArrE=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 77 of 83



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                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 23 May 2023 15:05:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4952:f400:8166:6dee:1148:dc0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   u9heKPmyFjXbdS5GDRq9jFg+aiJCYTypjAe69dkdx9vRgvttyGb0xzaL/k5U/DXMwaAUctpPY6YVUVPE3GK2QyexzEREqYhiXzNAS5haNkWytgQSBjo9W8OJMo8ivDS4pvqaKRL2KgiWou80YatccYBspRVgKFpQKH20u2qC6/ioNpZt4IfTPiB+9GeEU
   +tuczlIrcSkWVUyaDH41SUGxCPqbWpQcXny47/nJbyXIDlmHzEkz+CQi/j1CX9kt3ZYn7rV+7aoqB2a71FyveIg2UadMmq/KkJVVCyo5gdzSL4JnPN6Oua9d3jLJJgz9U0MupVTbUi3gH3Q67+tk7iokg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-23-May-2023-15-05-14-GMT.mhtml

   Hash (SHA256)
   859c68a459e6015d9a1830692bc879448d3d3212fc506434260dde839d406c30

   Signature (PKCS#1v1.5)
Y6Qk4OACJUNG3BzlKkugIb3vZ83sNUw5oxo4SUgWeH/DpekwQOvEwQQh7CL2fBNyUNHMM71gbLNNnu0mLV5dQ2EBZb6y/CWMbOk6Q08BOI3BwDcz/cZGPF4WOslPFQJ/B9DaAZrSBhYDTGDkn8Wqt3e/pn3zrlpIf2G8Y/Ws52E6SslfiU/
Ccc7dnUtqwwuwoiziem616Gi7e70dpC8l7HByqf0qlVJ25q4+ZsIWahgXOo+7wKb+jbkvTlLSLPSK6aVU5fv+cwk8TdCJM5Ow0BT/qGzc7MYN8teQLXXdOqzb97OucGy9FLgsnXY2t5IEYaEgP/In5JFyk/DbFoBIIQ==
                                                                                  Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 78 of 83



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                                                                                  Evidence Collection Report
   Page Title
   "Rainbow Smiley Face Sticker" Sticker for Sale by SwagStuffStore | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Rainbow-Smiley-Face-Sticker-by-SwagStuffStore/80785414.EJUG5

   Collection Date
   Wed, 26 Apr 2023 08:36:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WMKWlXE+DFbnbu/JL2l/2hk+HRlsv9BgWFO1/U2wSA6Zf5IFaEYTd6W62vhveuWrT87+UzO/Xx2iybAm9QgmwOMOKGfCNJjSI7FusgoWc/i6shEU8qUx5KKfFgviR9nzdq8gFxKY0nfjsYtRJ/j6Y0iSlVHEyiZLha3Ttq2DKAM=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Rainbow-Smiley-Face-Sticker-by-SwagStuffStore[fs]80785414.EJUG5]]_Wed,-26-Apr-2023-08-36-01-GMT.pdf

   Hash (SHA256)
   93fc1839fa16eeb7566feb34acdffd8d0d00f4f4becf1c413b0d7ddd2e58b20c

   Signature (PKCS#1v1.5)
RhGN06jHQTnI+k96PzSibCrK3O/VVPFW0h3B1O613iTsoWKS8chkqu/t4wqEHb6+LbMbJVS3T3frdqieC0COLsIh7iUrWIH0+4t6WXS0pwcAFY/LY9FqzM4ylon2/p74/OO1AN5aPBp3LM95zB0rUkJRnt28eYvjGrwsMv8GQPU=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 79 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 09:10:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4924:ce00:5dd:8d57:840f:9765

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NAjp9tSO2zJEBrc6hndAyCfmEjzbLu4k39TgArrMUT41cwRr8ldD+9Cc82LyU3ObK7uAEjki7jQ5w0De676BPfh+l/jZRhJAbzUY/wCbUBhHQmPr4j+TZdLS2cK4erMYnJ17pdLmRcZjHamZJ9K02HFDAeMf4VeN6xT89DIVz4XxmjBpzHf/5TRv
   +jFKvu1AFLq9aLWACyW2djMztcdQfExUzZfQGGTkBCCQLFzCw3Ss2h4whiWabMYrtE5HnK9P/Iya0vH+CStI2ia9MS338kKRnFhVBfriYF+fBZUWHCLlC5gdxWuX3snBWYJWlhpfpwu/qeTUa7Y4cNWNCqcKaw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-09-10-48-GMT.mhtml

   Hash (SHA256)
   8673b971a09b720b58299fb247caec364edd2ae1f9454d7cc58beed7a43db584

   Signature (PKCS#1v1.5)
F4Hkmq5uaSJxeEUuadnuxdgmXOdcE4YNzDnzd4K/XwUWUteKQ0nfoB1VYeqNu/01Tc9MSi6YcPe0j/IMRA394Gg9VbcQYolGmp5JRrbwEnAX/daGl/PBDauqvmjNSSdSUS9Rnkhv49i0ac/
urKtfpls0ELaSp7C2i3WTvVV6eYk5z7dBCHIHvseCgG9j9V58NpVNrqar4QIOmoQb8QnTBXfKlbopZ8rIAxRtrbIxgWDVO1BEm17r7Eey9g03keCgZ+lc5VC0EV20oKvQ4cktk2QQ893Z1QjdfN8ynTkWCYbcwMxe6Q0K3yxfB4oFdMJJdC4SxFZSSJZDSlnRT1rAHw==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 80 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Smiley" Sticker for Sale by sxc0120 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-by-sxc0120/54976709.EJUG5

   Collection Date
   Wed, 26 Apr 2023 08:42:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KhPaHUu8On+iE6wBI5Uu1vc8C+vAu1pP3fnAZpERztPcN5/doLOp8/WAbPxcEblTZHI7ffK9RictPtoErX+V/pqlkJ+QKE9LSDEiyEy/nH0/Mwnec/BfoqFdy6zYNO+NElwjR19aUjcfix2nnEcb+5R4dUODR5uKn/3P+UjQms4=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-by-sxc0120[fs]54976709.EJUG5]]_Wed,-26-Apr-2023-08-42-18-GMT.pdf

   Hash (SHA256)
   2a282d035228654c53da8a0dead74afe3010c37f436bcca47512635a756080aa

   Signature (PKCS#1v1.5)
pBiolR3ajETa1Lh03fByHYKlmoVPbZ6w6RmgKvt8pop7pG58PO1IIhkmvX/pjZwevwG9z8U04WRC66/kQDNoOB07GY0zXb60+wFK78MNnOeXNiIDDUNUp8CYT4VoEMVUwAdgsWZkj5i/yYqfiJpRhU/eq5vrzyLXq1b3nvpREic=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 81 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 10:17:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   175.176.30.31

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DK6iIqW+1zmtRN1QS4YZWrIID/5maeHOvuSw8rGCKVrpVlsF7bNy4RkZa/jtdhmI8H8meMIRCfbssdx+KouwjzUSz4mQC+JYk0nZf3V4bOzKdPxUKvy0GY5aUT6cGDIR0++6gWKtzgq9tMWHIaN6nOH/ejwanjvD+E/TkZ3K7h/
   B0bjFaKplFNHrZW10G7ZxBUVePfR7VpWu9JLXbUiTYpSwjiCPv4klExborvjRk11AxMRl/BSVAiSlhr4aVWIJiGcxseG3ePI77+JQ4hZ7/VhnINDBHExwyPOvT/is3WIxFCBeBXMTF9/lK3eazyYX5m4CXq6FVRAsVZlLH5Fifw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-10-17-43-GMT.mhtml

   Hash (SHA256)
   3b65a2addd43940d348954631a01320b86c51004a88cf59f706ff2c6576ab7b8

   Signature (PKCS#1v1.5)
gC8hsOMp5bCy+yDZbSOTEgn1roXwZkzWvnhzjoYxkoPTNcdClhQ/KhnqeyUkB6upp3jRZwCK2uY0i6IDwjcNJQTpoFSuS0NrnVtkHbaP8sEQD8Q/C4ztw8CyBToV7Qt2SvBacoLfvJ5/Dd2GQSxgRQgvnNqH3sPny3n+8KtlkbvguMc9g8V/sDoilgZ6Ye+BVZB8Neks5FRT0MqHnzTZCx88/
OspXxiwmKTyQwmlGLToNmx8oCX5JzuSATqsBk4SlxpEgTu1iRGPYxeZUYN4m3HC1EYK4eQfEHFHjBQnCYG6VaLKmUjnPHDYtvI8CCpt8W/DQM6GlxNCpKNvZFi10Q==
                                                                                 Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 82 of 83



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                                                                               Evidence Collection Report
   Page Title
   "Funny Smiley" Sticker for Sale by taher1315 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Funny-Smiley-by-taher1315/67796712.EJUG5

   Collection Date
   Wed, 26 Apr 2023 09:32:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hugJQ5Ucn9uhVcuzvrqJPU1Wiowwd82j5zUmlDAszkjhbdSD0k0Ywfnz7bKbD/hQJkk12TCopomo1+kBPFkk1yywzLmsVyThKMU9vGT/coWpBC6gYfjt9Z0OYlDX13hIerczIOg10PNrx64AA7vw0aLE0mdfGPJp3oM/1THXLp0=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Funny-Smiley-by-taher1315[fs]67796712.EJUG5]]_Wed,-26-Apr-2023-09-32-27-GMT.pdf

   Hash (SHA256)
   dff8450b6622ccb114b89bdde544fd247a1156d440c33220ea9c07008170d9dc

   Signature (PKCS#1v1.5)
ooyBRZ4dXy994YmLWgqTuJaYBoxqjX9OozmoxVg2Wf1ug/9NrwuGvLi5xwnFh8MEyV1LBv74CD7M1PS4z/cCDkCRtJklxjzsk6kF6EzRlSYt6pWWkdkf/d2hXXTmCl/480C2eSbWGAq+0jj/DG5RkUHF+MfPsr1ZzFKvkHQ8sx4=
                                                                               Case 0:23-cv-61229-AMC Document 5-7 Entered on FLSD Docket 07/17/2023 Page 83 of 83



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 29 May 2023 12:31:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   175.176.30.31

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   tsXWlJ+MyYRk1aZdMzzA2FI8MT8Zieo9QgEVlEsWoJFL7/WuUjXjEGp0oG1ISEGF7OWL1qtMW0aWwt1jcsd/b/FT3YLpLwCT7cxuqdanlWxEH7IvJT99diHVghsFAPvaltHwZEwDKpM4+Nz+qn0vdaEh2Uk7PDeiBsPCJxhnFo0hkZPZJeGBsijkBIFF63BUCQ/FqZHzyPdc3SylisgI7Q16S
   +xVTMuEFEXDnVxw+VshUUdlUW9GpG7vSQP+oGzhH9epIctC1BFPoO8BZhiM2LCd9t4/83HYkiwgYVaAAE9llUpKhBBXxJulp83m43O/VtgtpJ8VrstwtzQ+DjC0iw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-29-May-2023-12-31-05-GMT.mhtml

   Hash (SHA256)
   bc6168751647e704e15ed0a5f4e74014a80cfac2f91b20195b1ce00c761569ed

   Signature (PKCS#1v1.5)
N4mIBrz4x1cmjEqVFK4Ad+JqG1ds4B7A1zGqUIlGn/gFetAqrXSGF2v771+SNPQMLDU7fBNan1IQ09ARbxVDPFNg7RPjguQA8MYQnnzR0HAa5paJg0V4FJihGOC+fw0OQg0ffsVRkqBH42YjCxCI84avPiVlc8Aujgm6t+0ZpE0B1Q7u7L7249vG6fH8Ay4CIeiQlTmTcNJO9IUE/
aws3ltAzKrtg2PpXdbS8JcdXWscWK90Lz4Mtyd1gFO9qP/2qCbESlPEPp9bFAF5X9DUrvETbTI1T5IkZPhkRgIy4LHI1hKGAlZbqWLkAt0eELAVdfZce4XyMUYKSGRapp5olQ==
